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                                                                                    APPEAL,CASREF,STRK1
                                  U.S. District Court
                       Eastern District of Oklahoma (Muskogee)
                CIVIL DOCKET FOR CASE #: 6:19−cv−00302−JFH−JAR

   Ezell v. Hininger et al                                           Date Filed: 09/09/2019
   Assigned to: District Judge John F. Heil, III                     Date Terminated: 01/25/2023
   Referred to: Magistrate Judge Jason A. Robertson                  Jury Demand: None
   Case in other court: OKED, 12−00133                               Nature of Suit: 550 Prisoner: Civil Rights
                         10th Circuit, 19−07065                      Jurisdiction: Federal Question
                         10th Circuit, 20−07007
                         10th Circuit, 22−07024
                         Circuit Court, 23−07007
   Cause: 42:1983 Prisoner Civil Rights
   Plaintiff
   James Ezell, III                                   represented by James Ezell, III
   also known as                                                     237370
   James R. Ezell                                                    Lawton Correctional Facility
                                                                     8607 SE Flower Mound Rd
                                                                     Lawton, OK 73501
                                                                     PRO SE


   V.
   Defendant
   Damon Hininger                                     represented by Darrell L. Moore
   CEO of Core Civic                                                 J. Ralph Moore, PC
                                                                     PO Box 368
                                                                     Pryor, OK 74362
                                                                     918−825−0332
                                                                     Fax: 918−825−7730
                                                                     Email: darrellmoore@jralphmoorepc.com
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED

   Defendant
   James Yates                                        represented by Darrell L. Moore
   Warden, Davis Correctional Facility                               (See above for address)
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED

   Defendant
   Gentry                                             represented by Darrell L. Moore
   Deputy Warden                                                     (See above for address)
                                                                     LEAD ATTORNEY
                                                                     ATTORNEY TO BE NOTICED


                                                                                                                  1
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   Defendant
   Perez                                    represented by Darrell L. Moore
   Deputy Warden, Davis Correctional                       (See above for address)
   Facility                                                LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

   Defendant
   Terry Underwood                          represented by Darrell L. Moore
   Grievance Coordinator, Davis                            (See above for address)
   Correctional Facility                                   LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

   Defendant
   Jessica Patterson                        represented by Darrell L. Moore
   Law Library Supervisor, Davis                           (See above for address)
   Correctional Facility                                   LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

   Defendant
   Tiffany Ade                              represented by Darrell L. Moore
   Echo Maximum Unit Manager, Davis                        (See above for address)
   Correctional Facility                                   LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

   Defendant
   S. Pfaff                                 represented by Darrell L. Moore
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

   Defendant
   Carla Hoover                             represented by Darrell L. Moore
   also known as                                           (See above for address)
   Carl Hoover                                             LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

   Defendant
   Scott Crow                               represented by Desiree Singer
   Interim Director, Oklahoma Department                   Office of the Attorney General (OKC)
   of Corrections                                          313 NE 21st St
   TERMINATED: 04/11/2022                                  Oklahoma City, OK 73105
                                                           405−521−3921
                                                           Fax: 405−521−6246
                                                           Email: desiree.singer@oag.ok.gov
                                                           TERMINATED: 11/03/2021
                                                           LEAD ATTORNEY

                                                           Jessica Andrea Wilkes


                                                                                                  2
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                                                        Oklahoma Attorney General (OKC)
                                                        313 NE 21st St
                                                        Oklahoma City, OK 73105
                                                        405−521−3921
                                                        Fax: 405−521−4518
                                                        Email: jessica.wilkes@oag.ok.gov
                                                        TERMINATED: 04/11/2022

                                                        Kari Y. Hawkins
                                                        Office of the Attorney General (OKC)
                                                        313 NE 21st St
                                                        Oklahoma City, OK 73105
                                                        405−522−2976
                                                        Fax: 405−521−4518
                                                        Email: kari.hawkins@doc.ok.gov
                                                        TERMINATED: 04/11/2022

   Defendant
   Mark Knutson                            represented by Desiree Singer
   Designee, Oklahoma Department of                       (See above for address)
   Corrections                                            TERMINATED: 11/03/2021
   TERMINATED: 04/11/2022                                 LEAD ATTORNEY

                                                        Jessica Andrea Wilkes
                                                        (See above for address)
                                                        TERMINATED: 04/11/2022

                                                        Kari Y. Hawkins
                                                        (See above for address)
                                                        TERMINATED: 04/11/2022

   Defendant
   David Cincotta                          represented by Desiree Singer
   General Counsel, Oklahoma Department                   (See above for address)
   of Corrections                                         TERMINATED: 11/03/2021
   TERMINATED: 04/11/2022                                 LEAD ATTORNEY

                                                        Jessica Andrea Wilkes
                                                        (See above for address)
                                                        TERMINATED: 04/11/2022

                                                        Kari Y. Hawkins
                                                        (See above for address)
                                                        TERMINATED: 04/11/2022

   Defendant
   Jason Bryant                            represented by Desiree Singer
   Warden, Joseph Harp Correctional                       (See above for address)
   Center                                                 TERMINATED: 11/03/2021
   TERMINATED: 04/11/2022                                 LEAD ATTORNEY


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                                                          Jessica Andrea Wilkes
                                                          (See above for address)
                                                          TERMINATED: 04/11/2022

                                                          Kari Y. Hawkins
                                                          (See above for address)
                                                          TERMINATED: 04/11/2022

   Defendant
   R. Hodgson                                represented by Desiree Singer
   Captain, James Crabtree Correctional                     (See above for address)
   Center                                                   TERMINATED: 11/03/2021
   TERMINATED: 04/11/2022                                   LEAD ATTORNEY

                                                          Jessica Andrea Wilkes
                                                          (See above for address)
                                                          TERMINATED: 04/11/2022

                                                          Kari Y. Hawkins
                                                          (See above for address)
                                                          TERMINATED: 04/11/2022

   Defendant
   Austin Parks                              represented by Desiree Singer
   Lt., James Crabtree Correctional Center                  (See above for address)
   TERMINATED: 04/11/2022                                   TERMINATED: 11/03/2021
                                                            LEAD ATTORNEY

                                                          Jessica Andrea Wilkes
                                                          (See above for address)
                                                          TERMINATED: 04/11/2022

                                                          Kari Y. Hawkins
                                                          (See above for address)
                                                          TERMINATED: 04/11/2022

   Defendant
   Sgt. Walker                               represented by Desiree Singer
   Correctional Officer, James Crabtree                     (See above for address)
   Correctional Center                                      TERMINATED: 11/03/2021
   TERMINATED: 04/11/2022                                   LEAD ATTORNEY

                                                          Jessica Andrea Wilkes
                                                          (See above for address)
                                                          TERMINATED: 04/11/2022

                                                          Kari Y. Hawkins
                                                          (See above for address)
                                                          TERMINATED: 04/11/2022

   Defendant

                                                                                                4
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   James Nall                                represented by Desiree Singer
   Captain, James Crabtree Correctional                     (See above for address)
   Center                                                   TERMINATED: 11/03/2021
   TERMINATED: 04/11/2022                                   LEAD ATTORNEY

                                                          Jessica Andrea Wilkes
                                                          (See above for address)
                                                          TERMINATED: 04/11/2022

                                                          Kari Y. Hawkins
                                                          (See above for address)
                                                          TERMINATED: 04/11/2022

   Defendant
   Ms. Pirece                                represented by Darrell L. Moore
   Correctional Officer                                     (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Defendant
   Mr. Vance
   Correctional Officer
   TERMINATED: 09/29/2020

   Defendant
   Mr. Bullock                               represented by Darrell L. Moore
   Correctional Officer                                     (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Defendant
   Mr. Keys                                  represented by Darrell L. Moore
   Correctional Officer                                     (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED

   Defendant
   Mr. Adkins
   Correctional Officer
   TERMINATED: 09/29/2020

   Defendant
   Andrew Smith                              represented by Darrell L. Moore
                                                            (See above for address)
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED


    Date Filed      #     Docket Text


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    09/09/2019    1   COMPLAINT against All Defendants by James Ezell (acg, Deputy Clerk) (Entered:
                      09/09/2019)
    09/09/2019    2   MOTION for Leave to Proceed in Forma Pauperis by James Ezell Responses due by
                      9/23/2019(acg, Deputy Clerk) (Entered: 09/09/2019)
    09/09/2019    3   MINUTE ORDER by District Judge James H. Payne, referring case to Magistrate
                      Judge Steven P. Shreder for all further proceedings in accordance with jurisdiction
                      pursuant to 28 USC § 636. All future filings shall bear the case number
                      CIV−19−302−JHP−SPS. (acg, Deputy Clerk) (Entered: 09/09/2019)
    09/09/2019    4   MINUTE ORDER by Magistrate Judge Steven P. Shreder: Directing plaintiff to
                      submit within fourteen (14) days a Statement of Institutional Accounts form for a
                      six−month period completed by the appropriate facility official. Failure to submit a
                      proper Statement of Institutional Accounts as directed will result in dismissal of this
                      action. The Court Clerk is directed to send plaintiff and the trust fund officer at his
                      facility copies of this minute order and of the court's Statement of Institutional
                      Accounts form.(acg, Deputy Clerk) (Entered: 09/09/2019)
    09/16/2019    5   MOTION for Leave to Proceed in Forma Pauperis by James Ezell, III Responses due
                      by 9/30/2019(acg, Deputy Clerk) (Entered: 09/16/2019)
    09/17/2019    6   ORDER by District Judge James H. Payne : Granting 5 Motion for Leave to Proceed
                      in Forma Pauperis, partial Filing Fee due by 10/8/2019 in the amount of $33.72.
                      Finding as moot 2 motion for Leave to Proceed in Forma Pauperis. (acg, Deputy
                      Clerk) (Entered: 09/17/2019)
    10/03/2019        PARTIAL FILING FEES Paid on 10/3/2019 in the amount of $33.72, receipt number
                      17290 by James Ezell, III (pjw, Deputy Clerk) (Entered: 10/03/2019)
    10/03/2019    7   LETTER from OKED to Plaintiff re: 285 forms(acg, Deputy Clerk) (Entered:
                      10/03/2019)
    10/15/2019    8   MINUTE ORDER by Magistrate Judge Steven P. Shreder, directing the Clerk of
                      Court to issue Civil Summons for the named defendants and to forward the issued
                      Summons to the U.S. Marshal for service. The plaintiff has been granted In Forma
                      Pauperis status. (Re: 1 Complaint ) (acg, Deputy Clerk) (Entered: 10/15/2019)
    10/15/2019    9   SUMMONS Issued by Court Clerk as to Tiffany Ade (acg, Deputy Clerk) (Entered:
                      10/15/2019)
    10/15/2019   10   SUMMONS Issued by Court Clerk as to Scott Crow (acg, Deputy Clerk) (Entered:
                      10/15/2019)
    10/15/2019   11   SUMMONS Issued by Court Clerk as to Gentry (acg, Deputy Clerk) (Entered:
                      10/15/2019)
    10/15/2019   12   SUMMONS Issued by Court Clerk as to Damon Hininger (acg, Deputy Clerk)
                      (Entered: 10/15/2019)
    10/15/2019   13   SUMMONS Issued by Court Clerk as to Carla Hoover (acg, Deputy Clerk) (Entered:
                      10/15/2019)
    10/15/2019   14   SUMMONS Issued by Court Clerk as to James Nall (acg, Deputy Clerk) (Entered:
                      10/15/2019)
    10/15/2019   15


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                      SUMMONS Issued by Court Clerk as to Jessica Patterson (acg, Deputy Clerk)
                      (Entered: 10/15/2019)
    10/15/2019   16   SUMMONS Issued by Court Clerk as to Perez (acg, Deputy Clerk) (Entered:
                      10/15/2019)
    10/15/2019   17   SUMMONS Issued by Court Clerk as to Terry Underwood (acg, Deputy Clerk)
                      (Entered: 10/15/2019)
    10/15/2019   18   SUMMONS Issued by Court Clerk as to Sgt. Walker (acg, Deputy Clerk) (Entered:
                      10/15/2019)
    10/15/2019   19   SUMMONS Issued by Court Clerk as to James Yates (acg, Deputy Clerk) (Entered:
                      10/15/2019)
    10/15/2019   20   SUMMONS Issued by Court Clerk as to Jason Bryant (acg, Deputy Clerk) (Entered:
                      10/15/2019)
    10/15/2019   21   SUMMONS Issued by Court Clerk as to David Cincotta (acg, Deputy Clerk)
                      (Entered: 10/15/2019)
    10/15/2019   22   SUMMONS Issued by Court Clerk as to R. Hodgson(acg, Deputy Clerk) (Entered:
                      10/15/2019)
    10/15/2019   23   SUMMONS Issued by Court Clerk as to Mark Knutson (acg, Deputy Clerk)
                      (Entered: 10/15/2019)
    10/15/2019   24   SUMMONS Issued by Court Clerk as to Austin Parks (acg, Deputy Clerk) (Entered:
                      10/15/2019)
    10/15/2019   25   SUMMONS Issued by Court Clerk as to S. Pfaff (acg, Deputy Clerk) (Entered:
                      10/15/2019)
    11/06/2019   26   SUMMONS Returned Executed re: Damon Hininger − Served on 10/25/2019. (acg,
                      Deputy Clerk) (Entered: 11/07/2019)
    11/07/2019   27   MOTION to Amend (Re: 1 Complaint ) (amended complaint not included in mailing)
                      by James Ezell, III Responses due by 11/21/2019(acg, Deputy Clerk) (Entered:
                      11/07/2019)
    11/07/2019   28   MINUTE ORDER by Magistrate Judge Steven P. Shreder : Denying 27 without
                      prejudice Plaintiffs motion to amend for his failure to comply with Local Civil Rule
                      9.2(c). Plaintiff has failed to clearly set forth the reasons for requesting permission to
                      file an amended complaint, and he has failed to submit a proposed amended
                      complaint with the motion. The Court Clerk is directed to send Plaintiff a copy of
                      Local Civil Rule 9.2(c). (acg, Deputy Clerk) (Entered: 11/07/2019)
    11/08/2019   29   ATTORNEY APPEARANCE by Desiree Singer on behalf of David Cincotta, Scott
                      Crow, Mark Knutson (Singer, Desiree) (Entered: 11/08/2019)
    11/08/2019   30   MOTION to Stay Proceedings and Request Order for Special Report by David
                      Cincotta, Scott Crow, Mark Knutson Responses due by 11/22/2019(Singer, Desiree)
                      (Entered: 11/08/2019)
    11/12/2019   31   MOTION for Appointment of Counsel by James Ezell, III Responses due by
                      11/26/2019(acg, Deputy Clerk) (Entered: 11/12/2019)
    11/14/2019   32

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                      ORDER by District Judge James H. Payne : Denying 31 plaintiff's Motion for
                      Appointment of Counsel. Plaintiff is directed to file within fourteen (14) days a
                      motion to amend the complaint, setting forth the reasons for requesting permission to
                      file an amended complaint, along with the proposed amended complaint on the
                      Courts form, as directed in this Order. Failure to comply with this Order will result in
                      dismissal of this action without further notice. (acg, Deputy Clerk) (Entered:
                      11/14/2019)
    11/19/2019   33   SUMMONS Returned Executed re: Gentry − Served on 10/30/2019. (acg, Deputy
                      Clerk) (Entered: 11/20/2019)
    11/19/2019   34   SUMMONS Returned Executed re: Terry Underwood − Served on 10/25/2019. (acg,
                      Deputy Clerk) (Entered: 11/20/2019)
    11/19/2019   35   SUMMONS Returned Executed re: James Yates − Served on 10/30/2019. (acg,
                      Deputy Clerk) (Entered: 11/20/2019)
    11/19/2019   36   SUMMONS Returned Executed re: Perez − Served on 10/25/2019. (acg, Deputy
                      Clerk) (Entered: 11/20/2019)
    11/19/2019   37   SUMMONS Returned Executed re: Jessica Patterson − Served on 10/25/2019. (acg,
                      Deputy Clerk) (Entered: 11/20/2019)
    11/19/2019   38   SUMMONS Returned Executed re: Tiffany Ade − Served on 10/30/2019. (acg,
                      Deputy Clerk) (Entered: 11/20/2019)
    11/19/2019   39   SUMMONS Returned Executed re: S. Pfaff − Served on 10/30/2019. (acg, Deputy
                      Clerk) (Entered: 11/20/2019)
    11/19/2019   40   SUMMONS Returned Executed re: Carla Hoover − Served on 10/28/2019. (acg,
                      Deputy Clerk) (Entered: 11/20/2019)
    11/22/2019   41   OBJECTION (Re: 28 Ruling on Motion to Amend, ) by James Ezell, III (acg, Deputy
                      Clerk) (Entered: 11/22/2019)
    11/22/2019   42   Second MOTION to Amend (Re: 1 Complaint ) by James Ezell, III Responses due by
                      12/6/2019(acg, Deputy Clerk) (Entered: 11/22/2019)
    11/22/2019   43   ATTORNEY APPEARANCE by Darrell L. Moore on behalf of Tiffany Ade, Gentry,
                      Carla Hoover, Jessica Patterson, Perez, S. Pfaff, Terry Underwood, James Yates
                      (Moore, Darrell) (Entered: 11/22/2019)
    11/22/2019   44   MOTION to Stay and for Special Report by Tiffany Ade, Gentry, Carla Hoover,
                      Jessica Patterson, Perez, S. Pfaff, Terry Underwood, James Yates Responses due by
                      12/6/2019(Moore, Darrell) (Entered: 11/22/2019)
    12/02/2019   45   MOTION to strike 42 amended request and move for motion to supplement the
                      original complaint by James Ezell, III Responses due by 12/16/2019(acg, Deputy
                      Clerk) (Main Document 45 replaced on 12/13/2019) (acg, Deputy Clerk). (Entered:
                      12/02/2019)
    12/02/2019   46   OBJECTION (Re: 32 Ruling on Motion for Appointment of Counsel ) by James
                      Ezell, III (acg, Deputy Clerk) (Entered: 12/02/2019)
    12/02/2019   47   NOTICE OF APPEAL to Circuit Court (Interlocutory) (Re: 32 Ruling on Motion for
                      Appointment of Counsel ) by James Ezell, III (acg, Deputy Clerk) (Entered:
                      12/02/2019)


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    12/02/2019   48   MINUTE ORDER by Magistrate Judge Steven P. Shreder: Upon review of the file in
                      this case, the Court finds that the plaintiff has not submitted a proper motion for leave
                      to proceed in forma pauperis for appeal purposes or paid the $505.00 filing fee. The
                      plaintiff is directed to submit a properly executed motion for leave to proceed in
                      forma pauperis for the appeal, with original signature and have the Trust Fund
                      Officer at his/her facility complete (with an original signature) the Required
                      Certification of Statement of Institutional Accounts and provide a current 6−month
                      financial accounting statement and return the completed motion to the Office of the
                      Clerk or pay the filing fee of $505.00 within 20 days or by 12/23/19. The Clerk is
                      directed to provide the plaintiff with a motion for leave to proceed in forma pauperis
                      form and an instruction sheet.(acg, Deputy Clerk) (Entered: 12/02/2019)
    12/02/2019   49   Transmission of Notice of Appeal and Docket Sheet to U.S. Court of Appeals. Pro Se
                      Appeal Packet mailed to Petitioner (Re: 47 Notice of Appeal − Interlocutory ) (With
                      attachments)(jcb, Deputy Clerk) (Entered: 12/02/2019)
    12/02/2019   50   APPEAL NUMBER INFORMATION from Circuit Court assigning Case Number
                      19−7065 (Re: 47 Notice of Appeal − Interlocutory ) (jcb, Deputy Clerk) (Entered:
                      12/02/2019)
    12/02/2019   51   OBJECTION (Re: 32 Ruling on Motion for Appointment of Counsel and ruling on
                      amended complaint) by James Ezell, III (acg, Deputy Clerk) (Entered: 12/11/2019)
    12/17/2019   52   MOTION to Supplement and MOTION to Amend or added exhibits (Re: 1
                      Complaint ) by James Ezell, III Responses due by 12/31/2019(acg, Deputy Clerk)
                      (Entered: 12/17/2019)
    12/18/2019   53   MINUTE ORDER by District Judge James H. Payne :Granting in part and denying in
                      part Plaintiff's "motion to strike amended request and move for motion to supplement
                      the original complaint" 45 . The Court construes the motion as a request to strike
                      Plaintiff's second motion to amend complaint 42 and grants that part of the motion.
                      However, his request to supplement the original complaint is denied, because
                      pursuant to Local Civil Rule 9.2(c), an amended complaint must be complete in itself
                      without reference to materials outside the amended complaint. (acg, Deputy Clerk)
                      (Entered: 12/18/2019)
    12/18/2019   54   MINUTE ORDER by District Judge James H. Payne : On December 10, 2019, the
                      Court received in two envelopes Plaintiff's "second motion to supplement and amend
                      or added exhibits," dated November 29, 2019 52 , with a proposed amended
                      complaint and numerous exhibits. Because the proposed amended complaint appears
                      to be proper, the motion to amend 52 is granted, and the Court Clerk is directed to
                      file Plaintiff's proposed amended complaint and send a copy of the filed complaint to
                      Plaintiff (acg, Deputy Clerk) (Entered: 12/18/2019)
    12/18/2019   55   MINUTE ORDER by Magistrate Judge Steven P. Shreder : Denying without
                      prejudice Defendants' motions to stay 30 44 , with leave to re−urge the motions after
                      service of the amended complaint 53 . (acg, Deputy Clerk) (Entered: 12/18/2019)
    12/18/2019   56   AMENDED COMPLAINT against All Defendants (Re: 1 Complaint ) by James
                      Ezell, III (With attachments)(acg, Deputy Clerk) (Entered: 12/18/2019)
                      Main Document
                      Attachment # 1 Exhibit 1a−1
                      Attachment # 2 Exhibit 2−7

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                      Attachment # 3 Exhibit 8−12
                      Attachment # 4 Exhibit 13−16
    12/26/2019   57   MOTION for Leave to Appeal in Forma Pauperis (Re: 47 Notice of Appeal −
                      Interlocutory ) by James Ezell, III (With attachments) Responses due by 1/9/2020(lal,
                      Deputy Clerk) (Entered: 12/26/2019)
    01/02/2020   58   MOTION to Stay proceedings and Request Order for Special Report by David
                      Cincotta, Scott Crow, Mark Knutson Responses due by 1/16/2020(Singer, Desiree)
                      (Entered: 01/02/2020)
    01/07/2020   59   DECISION from Circuit Court dismissing the Appeal (Re: 47 Notice of Appeal −
                      Interlocutory ) (With attachments)(acg, Deputy Clerk) (Entered: 01/07/2020)
    01/08/2020   60   MINUTE ORDER by Magistrate Judge Steven P. Shreder, directing the Clerk of
                      Court to issue Civil Summons for the named defendants and to forward the issued
                      Summons to the U.S. Marshal for service. The plaintiff has been granted In Forma
                      Pauperis status.(acg, Deputy Clerk) (Entered: 01/08/2020)
    01/08/2020   61   SUMMONS Issued by Court Clerk as to Mr. Adkins (acg, Deputy Clerk) (Entered:
                      01/08/2020)
    01/08/2020   62   SUMMONS Issued by Court Clerk as to Ms. Pirece (acg, Deputy Clerk) (Entered:
                      01/08/2020)
    01/08/2020   63   SUMMONS Issued by Court Clerk as to Mr. Bullock (acg, Deputy Clerk) (Entered:
                      01/08/2020)
    01/08/2020   64   SUMMONS Issued by Court Clerk as to Mr. Keys (acg, Deputy Clerk) (Entered:
                      01/08/2020)
    01/08/2020   65   SUMMONS Issued by Court Clerk as to Andrew Smith (acg, Deputy Clerk)
                      (Entered: 01/08/2020)
    01/08/2020   66   SUMMONS Issued by Court Clerk as to Mr. Vance (acg, Deputy Clerk) (Entered:
                      01/08/2020)
    01/17/2020   67   SUMMONS Returned Executed re: Scott Crow − Served on 10/23/2019. (acg,
                      Deputy Clerk) (Entered: 01/21/2020)
    01/17/2020   68   SUMMONS Returned Executed re: Sgt. Walker − Served on 11/1/2019. (acg, Deputy
                      Clerk) (Entered: 01/21/2020)
    01/17/2020   69   SUMMONS Returned Executed re: R. Hodgson − Served on 11/1/2019. (acg, Deputy
                      Clerk) (Entered: 01/21/2020)
    01/17/2020   70   SUMMONS Returned Executed re: Austin Parks − Served on 11/1/2019. (acg,
                      Deputy Clerk) (Entered: 01/21/2020)
    01/17/2020   71   SUMMONS Returned Executed re: James Nall − Served on 11/1/2019. (acg, Deputy
                      Clerk) (Entered: 01/21/2020)
    01/17/2020   72   SUMMONS Returned Executed re: Jason Bryant − Served on 1/6/2020. (acg, Deputy
                      Clerk) (Entered: 01/21/2020)
    01/17/2020   73   SUMMONS Returned Executed re: David Cincotta − Served on 10/23/2019. (acg,
                      Deputy Clerk) (Main Document 73 replaced on 1/21/2020) (acg, Deputy Clerk).


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                      (Entered: 01/21/2020)
    01/17/2020   74   SUMMONS Returned Executed re: Mark Knutson − Served on 10/23/2019. (acg,
                      Deputy Clerk) (Entered: 01/21/2020)
    01/21/2020   75   ATTORNEY APPEARANCE by Darrell L. Moore on behalf of Mr. Bullock, Damon
                      Hininger, Mr. Keys, Ms. Pirece, Andrew Smith (Moore, Darrell) (Entered:
                      01/21/2020)
    01/21/2020   76   Second MOTION to Stay and for Special Report by Tiffany Ade, Mr. Bullock,
                      Gentry, Damon Hininger, Carla Hoover, Mr. Keys, Jessica Patterson, Perez, S. Pfaff,
                      Ms. Pirece, Andrew Smith, Terry Underwood, James Yates Responses due by
                      2/4/2020(Moore, Darrell) (Entered: 01/21/2020)
    01/27/2020   77   Second MOTION for Appointment of Counsel (Re: 32 Ruling on Motion for
                      Appointment of Counsel) by James Ezell, III (titled "Motion to Reconsider")
                      Responses due by 2/10/2020(acg, Deputy Clerk) Modified on 2/7/2020 to edit event
                      and text (dma, Deputy Clerk). (Entered: 01/27/2020)
    01/31/2020   78   SUMMONS Returned Executed re: Mr. Bullock − Served on 1/21/2020. (acg,
                      Deputy Clerk) (Entered: 02/03/2020)
    01/31/2020   79   SUMMONS Returned Executed re: Mr. Keys − Served on 1/21/2020. (acg, Deputy
                      Clerk) (Entered: 02/03/2020)
    01/31/2020   80   SUMMONS Returned Executed re: Ms. Pirece − Served on 1/21/2020. (acg, Deputy
                      Clerk) (Entered: 02/03/2020)
    01/31/2020   81   SUMMONS Returned Executed re: Andrew Smith − Served on 1/21/2020. (acg,
                      Deputy Clerk) (Entered: 02/03/2020)
    01/31/2020   82   SUMMONS Returned Unexecuted re: Mr. Adkins, (acg, Deputy Clerk) (Entered:
                      02/03/2020)
    01/31/2020   83   SUMMONS Returned Unexecuted re: Mr. Vance, (acg, Deputy Clerk) (Entered:
                      02/03/2020)
    02/07/2020   84   OPINION AND ORDER by District Judge James H. Payne: Denying 77 Second
                      Motion for Appointment of Counsel. (acg, Deputy Clerk) (Entered: 02/07/2020)
    02/18/2020        PARTIAL FILING FEES Paid on 2/18/2020 in the amount of $19.24, receipt number
                      17739 by James Ezell, III (pjw, Deputy Clerk) (Entered: 02/18/2020)
    02/21/2020   85   OBJECTION (Re: 84 Ruling on Motion for Appointment of Counsel ) by James
                      Ezell, III (acg, Deputy Clerk) (Entered: 02/21/2020)
    02/21/2020   86   NOTICE OF APPEAL to Circuit Court (Interlocutory) (Re: 84 Ruling on Motion for
                      Appointment of Counsel ) by James Ezell, III (acg, Deputy Clerk) (Entered:
                      02/21/2020)
    02/21/2020   87   MINUTE ORDER by Magistrate Judge Steven P. Shreder: Upon review of the file in
                      this case, the Court finds that the plaintiff has not submitted a proper motion for leave
                      to proceed in forma pauperis for appeal purposes or paid the $505.00 filing fee. The
                      plaintiff is directed to submit a properly executed motion for leave to proceed in
                      forma pauperis for the appeal, with original signature and have the Trust Fund
                      Officer at his/her facility complete (with an original signature) the Required
                      Certification of Statement of Institutional Accounts and provide a current 6−month


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                      financial accounting statement and return the completed motion to the Office of the
                      Clerk or pay the filing fee of $505.00 within 20 days or by 3/13/20. The Clerk is
                      directed to provide the plaintiff with a motion for leave to proceed in forma pauperis
                      form and an instruction sheet.(acg, Deputy Clerk) (Entered: 02/21/2020)
    02/21/2020   88   Transmission of Notice of Appeal and Docket Sheet to U.S. Court of Appeals. Pro Se
                      Appeal Packet mailed to Petitioner (Re: 86 Notice of Appeal − Interlocutory ) (With
                      attachments)(jcb, Deputy Clerk) (Entered: 02/21/2020)
    02/21/2020   89   APPEAL NUMBER INFORMATION from Circuit Court assigning Case Number
                      20−7007 (Re: 86 Notice of Appeal − Interlocutory ) (jcb, Deputy Clerk) (Entered:
                      02/24/2020)
    02/24/2020   90   DECISION from Circuit Court dismissing the Appeal (Re: 86 Notice of Appeal −
                      Interlocutory) (With attachments)(acg, Deputy Clerk) Modified on 2/26/2020 to
                      delete link (dma, Deputy Clerk). (Entered: 02/24/2020)
    02/24/2020   91   MINUTE ORDER by Court Clerk: At the direction of the Court, this case is hereby
                      reassigned to Judge Ronald A. White. All documents filed in this case in the future
                      shall reflect the new case number CIV−19−302−RAW−SPS (dma, Deputy Clerk)
                      (Entered: 02/24/2020)
    03/09/2020   92   LETTER from plaintiff to OKED re: USM Forms and addresses by James Ezell, III
                      (acg, Deputy Clerk) (Entered: 03/09/2020)
    03/31/2020   93   LETTER from Circuit Court stating that the Petition for Writ of Certiorari has been
                      filed on 3/9/20 (U.S. Supreme Court Case Number: 19−8134) (acg, Deputy Clerk)
                      (Entered: 04/03/2020)
    04/20/2020   94   MOTION for Reconsideration by James Ezell, III Responses due by 5/4/2020(acg,
                      Deputy Clerk) (Entered: 04/20/2020)
    04/21/2020   95   MINUTE ORDER by Magistrate Judge Steven P. Shreder: Denying without
                      prejudice Plaintiff's motion to reconsider 94 . The motion fails to clearly set forth
                      which ruling he is challenging. If Plaintiff wants to file another motion on this issue,
                      he must reference the docket number of the ruling he wants to have reconsidered. The
                      Court Clerk is directed to send Plaintiff a copy of the docket sheet for this case. (acg,
                      Deputy Clerk) (Entered: 04/21/2020)
    05/04/2020   96   MOTION for Reconsideration to amend complaint (Re: 28 Ruling on Motion to
                      Amend, ) by James Ezell, III Responses due by 5/18/2020(acg, Deputy Clerk)
                      (Entered: 05/04/2020)
    05/15/2020   97   Order to show cause for a MOTION for Preliminary Injunction and Order eventually
                      an Permanent Injunction by James Ezell, III Responses due by 5/29/2020(acg,
                      Deputy Clerk) (Entered: 05/15/2020)
    05/29/2020   98   ATTORNEY APPEARANCE by Desiree Singer on behalf of Jason Bryant, R.
                      Hodgson, James Nall, Austin Parks, Sgt. Walker (Singer, Desiree) (Entered:
                      05/29/2020)
    05/29/2020   99   RESPONSE in Opposition to Motion (Re: 97 MOTION for Preliminary Injunction
                      MOTION for Permanent Injunction ) by Jason Bryant, David Cincotta, Scott Crow,
                      R. Hodgson, Mark Knutson, James Nall, Austin Parks, Sgt. Walker ;(Singer, Desiree)
                      (Entered: 05/29/2020)



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    06/01/2020   100   MINUTE ORDER by Judge Ronald A. White: Denying plaintiff's 57 Motion for
                       Leave to Appeal in Forma Pauperis as moot. (acg, Deputy Clerk) (Entered:
                       06/01/2020)
    06/01/2020   101   MINUTE ORDER by Magistrate Judge Steven P. Shreder: Directing Plaintiff to
                       show cause in writing within fourteen (14) days why Defendants Mr. Vance and Mr.
                       Adkins should not be dismissed from this action for Plaintiff's failure to serve them
                       within 90 days after filing the complaint, pursuant to Fed. R. Civ. P. 4(m). Failure to
                       show cause as directed will result in dismissal of Defendants Vance and Adkins from
                       this action. (acg, Deputy Clerk) (Entered: 06/01/2020)
    06/08/2020   102   LETTER from Circuit Court stating that the Petition for Writ of Certiorari has been
                       denied (Re: [ 86 Notice of Appeal) (lal, Deputy Clerk) (Entered: 06/08/2020)
    06/12/2020   103   REPLY to Response to Motion (Re: 97 MOTION for Preliminary Injunction
                       MOTION for Permanent Injunction ) by James Ezell, III ;(acg, Deputy Clerk)
                       (Entered: 06/15/2020)
    06/15/2020   104   THIRD MOTION for Appointment of Counsel by James Ezell, III Responses due by
                       6/29/2020(acg, Deputy Clerk) (Entered: 06/15/2020)
    06/15/2020   105   RESPONSE to Order to Show Cause (Re: 101 Minute Order Directing Party to Show
                       Cause) by James Ezell, III (acg, Deputy Clerk) (Entered: 06/15/2020)
    06/24/2020   106   AMENDED REPLY to Response to Motion (Re: 97 MOTION for Preliminary
                       Injunction MOTION for Permanent Injunction) by James Ezell, III ; (With
                       attachments)(tls, Deputy Clerk) (Entered: 06/24/2020)
                       Main Document
                       Attachment # 1 Envelope
    06/29/2020   107   RESPONSE to Motion (Re: 104 MOTION for Appointment of Counsel ) by Tiffany
                       Ade, Gentry, Damon Hininger, Carla Hoover, Mr. Keys, Jessica Patterson, Perez, S.
                       Pfaff, Ms. Pirece, Andrew Smith, Terry Underwood, James Yates ;(Moore, Darrell)
                       (Entered: 06/29/2020)
    07/08/2020   108   MINUTE ORDER by Court Clerk: At the direction of the Court, this case is hereby
                       reassigned to District Judge John F. Heil, III. All documents filed in this case in the
                       future shall reflect the new case number CIV−19−302−JFH−SPS (dma, Deputy
                       Clerk) (Entered: 07/08/2020)
    07/17/2020   109   MINUTE ORDER by Magistrate Judge Steven P. Shreder : Denying 96 Plaintiff's
                       motion to reconsider. On November 7, 2019, the Court denied Plaintiff's motion to
                       amend his complaint 27 because of his failure to comply with Local Civil Rule 9.2(c)
                       28 . Plaintiff failed to clearly set forth the reasons for requesting permission to file an
                       amended complaint, and he failed to submit a proposed amended complaint with the
                       motion. Id. To the extent Plaintiff intended his motion to amend the complaint 27 to
                       be a supplement to the complaint pursuant to Fed. R. Civ. P. 15(d), the Court is not
                       required to permit supplementation. Plaintiff must follow the Federal Rules of Civil
                       Procedure, the Courts Local Civil Rules, and the Court's orders. (acg, Deputy Clerk)
                       (Entered: 07/17/2020)
    07/17/2020   110   MINUTE ORDER by Magistrate Judge Steven P. Shreder: On June 1, 2020, the
                       Court directed Plaintiff to show cause why Defendants Mr. Vance and Mr. Adkins
                       should not dismissed from this action for Plaintiff's failure to serve them within 90


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                       days after filing the complaint, pursuant to Fed. R. Civ. P. 4(m) 101 . Plaintiff has
                       filed a response, alleging these defendants "fled" Davis Correctional Facility when
                       the other defendants were served 105 . He further asserts he has been denied access to
                       the courts, and he received a retaliatory misconduct. He does not explain how this
                       denial prevented him from serving Defendants Vance and Adkins. Nonetheless, the
                       Court finds Plaintiff has shown cause for his failure to serve these defendants,
                       because he is unable to locate them. Therefore, the Court will order the United States
                       Marshals Service to attempt to determine the last known addresses for Defendants
                       Vance and Adkins. (acg, Deputy Clerk) (Entered: 07/17/2020)
    07/17/2020   111   MINUTE ORDER by Magistrate Judge Steven P. Shreder: Directing the United
                       States Marshals Service for the Eastern District of Oklahoma is to contact the warden
                       of Davis Correctional Facility (DCF) in Holdenville, Oklahoma, and obtain the last
                       known addresses for (1) Correctional Officer Vance and Correctional Officer Adkins,
                       both former DCF employees. The Marshals Service shall advise the Court Clerk
                       within fourteen (14) days of the results of the attempts to obtain the last known
                       addresses for these defendants. Plaintiff's copies of the USM−285 Forms shall not
                       include the defendants' last known addresses. In addition, after service is attempted,
                       the Court Clerk is directed to file the returned USM−285 Forms under seal. The
                       Court Clerk is directed to send Plaintiff USM−285 Forms for Defendant Vance and
                       Defendant Adkins, and Plaintiff is directed to sign and return the forms to the Court
                       within fourteen (14) days of the entry of this Order. (acg, Deputy Clerk) (Entered:
                       07/17/2020)
    07/20/2020   112   MOTION the court pursuant to FED.R.C.P. by James Ezell, III Responses due by
                       8/3/2020(acg, Deputy Clerk) (Entered: 07/20/2020)
    07/30/2020         ***Remark: In compliance with the Minute Order 111 , the Marshal's Service has
                       advised the Court Clerk that it has obtained the last known addresses for Defendants
                       Vance and Adkins (Re: 111 Minute Order) (dma, Deputy Clerk) (Entered:
                       07/30/2020)
    07/30/2020   113   MOTION for Summary Judgment by James Ezell, III Responses due by
                       8/13/2020(acg, Deputy Clerk) (Entered: 08/03/2020)
    08/03/2020   114   SUMMONS Issued by Court Clerk as to Mr. Adkins (acg, Deputy Clerk) (Entered:
                       08/03/2020)
    08/03/2020   115   SUMMONS Issued by Court Clerk as to Mr. Vance (acg, Deputy Clerk) (Entered:
                       08/03/2020)
    08/13/2020   116   RESPONSE in Opposition to Motion (Re: 113 MOTION for Summary Judgment )
                       by Jason Bryant, David Cincotta, Scott Crow, R. Hodgson, Mark Knutson, James
                       Nall, Austin Parks, Sgt. Walker ;(Singer, Desiree) (Entered: 08/13/2020)
    08/13/2020   117   RESPONSE in Opposition to Motion (Re: 113 MOTION for Summary Judgment )
                       by Tiffany Ade, Mr. Bullock, Gentry, Damon Hininger, Carla Hoover, Mr. Keys,
                       Jessica Patterson, Perez, S. Pfaff, Ms. Pirece, Andrew Smith, Terry Underwood,
                       James Yates ;(Moore, Darrell) (Entered: 08/13/2020)
    08/26/2020   118   REPLY to Response to Motion (Re: 113 MOTION for Summary Judgment ) by
                       James Ezell, III ;(acg, Deputy Clerk) (Entered: 08/26/2020)
    09/04/2020   119   SUMMONS Returned Unexecuted re: Mr. Adkins, (acg, Deputy Clerk) Modified on
                       9/8/2020 to edit file date (dma, Deputy Clerk). (Entered: 09/08/2020)


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    09/04/2020   120   SUMMONS Returned Unexecuted re: Mr. Vance, (acg, Deputy Clerk) (Entered:
                       09/08/2020)
    09/10/2020   121   Fourth MOTION for Appointment of Counsel by James Ezell, III Responses due by
                       9/24/2020(acg, Deputy Clerk) (Entered: 09/10/2020)
    09/21/2020   122   LETTER from plaintiff to Judge re: library access by James Ezell, III (acg, Deputy
                       Clerk) (Entered: 09/21/2020)
    09/24/2020   123   Plaintiff first Issuance for Preliminary Injunction and MOTION for Order to Show
                       Cause why permanent injunction should not issue pursuant to Fed. R Civ.P. Rule 65a
                       by James Ezell, III Responses due by 10/8/2020(acg, Deputy Clerk) (Additional
                       attachment(s) added on 9/24/2020: # 1 Exhibits) (acg, Deputy Clerk). (Entered:
                       09/24/2020)
                       Main Document
                       Attachment # 1 Exhibits
    09/24/2020   124   RESPONSE in Opposition to Motion (Re: 121 MOTION for Appointment of
                       Counsel ) by Tiffany Ade, Mr. Bullock, Gentry, Damon Hininger, Carla Hoover, Mr.
                       Keys, Jessica Patterson, Perez, S. Pfaff, Ms. Pirece, Andrew Smith, Terry
                       Underwood, James Yates ;(Moore, Darrell) (Entered: 09/24/2020)
    09/28/2020   125   SUPPLEMENT (Re: 123 MOTION for Preliminary Injunction MOTION for Order
                       to Show Cause ) by James Ezell, III (acg, Deputy Clerk) (Entered: 09/28/2020)
    09/29/2020   126   OPINION AND ORDER by District Judge John F. Heil, III : Dismissing Defendant,
                       Mr. Adkins and Mr. Vance without prejudice from this action. (acg, Deputy Clerk)
                       (Entered: 09/29/2020)
    09/29/2020   127   ORDER by Magistrate Judge Steven P. Shreder: Granting 58 76 Motion to Stay, Stay
                       Review Deadline set for 11/28/2020. All pending motions are STRICKEN. (acg,
                       Deputy Clerk) (Entered: 09/29/2020)
    10/15/2020   128   OBJECTION (Re: 126 Opinion and Order) by James Ezell, III (acg, Deputy Clerk)
                       (Entered: 10/15/2020)
    11/18/2020   129   MOTION to Extend Deadline for the Special Report and Dispositive Motions by
                       Jason Bryant, R. Hodgson, James Nall, Austin Parks, Sgt. Walker (With attachments)
                       Responses due by 12/2/2020(Singer, Desiree) (Entered: 11/18/2020)
    11/18/2020   130   MINUTE ORDER by Magistrate Judge Steven P. Shreder: Granting 129 defendant's
                       Motion to Extend Deadlines for the Special Report and Dispositive Motions due by
                       12/18/2020(acg, Deputy Clerk) (Entered: 11/18/2020)
    11/24/2020   131   MOTION for Extension of Time to Answer and Brief in Support (Re: 56 Amended
                       Complaint) by Tiffany Ade, Mr. Bullock, Gentry, Damon Hininger, Carla Hoover,
                       Mr. Keys, Jessica Patterson, Perez, S. Pfaff, Ms. Pirece, Andrew Smith, Terry
                       Underwood, James Yates Responses due by 12/8/2020(Moore, Darrell) (Entered:
                       11/24/2020)
    11/30/2020   132   MINUTE ORDER by Magistrate Judge Steven P. Shreder: Granting 131 defendant's
                       Motion for Extension of Time to Answer. Special Report is due 11/28/20(acg,
                       Deputy Clerk) (Entered: 11/30/2020)
    12/04/2020   133


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                       OBJECTION (Re: 129 MOTION to Extend Deadline for the Special Report and
                       Dispositive Motions) by James Ezell, III (With attachments)(lal, Deputy Clerk)
                       (Entered: 12/04/2020)
    12/07/2020   134   OBJECTION (Re: 131 MOTION for Extension of Time to Answer ) by James Ezell,
                       III (acg, Deputy Clerk) (Entered: 12/07/2020)
    12/18/2020   135   SPECIAL REPORT by Jason Bryant, R. Hodgson, James Nall, Austin Parks, Sgt.
                       Walker (With attachments)(Singer, Desiree) (Entered: 12/18/2020)
    12/18/2020   136   MOTION to Dismiss or in the alternative MOTION for Summary Judgment by Jason
                       Bryant, David Cincotta, Scott Crow, R. Hodgson, Mark Knutson, James Nall, Austin
                       Parks, Sgt. Walker Responses due by 1/4/2021(Singer, Desiree) (Entered:
                       12/18/2020)
    12/21/2020   137   MOTION to Extend Deadline(s) by Tiffany Ade, Mr. Bullock, Gentry, Damon
                       Hininger, Carla Hoover, Mr. Keys, Jessica Patterson, Perez, S. Pfaff, Ms. Pirece,
                       Andrew Smith, Terry Underwood, James Yates Responses due by 1/4/2021(Moore,
                       Darrell) (Entered: 12/21/2020)
    12/22/2020   138   MINUTE ORDER by Magistrate Judge Steven P. Shreder granting 137 Defendants
                       Ade, Bullock, Gentry, Hininger, Hoover, Keys, Patterson, Perez, Pfaff, Pierce, Smith,
                       Underwood, and Yates' Second Motion for Extension of Time to File Special Report
                       and Answer or Dispositive Motion. The Special Report and Answer or Dispositive
                       Motion are due Tuesday, January 12, 2021. (pmb, Deputy Clerk) (Entered:
                       12/22/2020)
    01/04/2021   139   MOTION for extension of time to amend pleadings with brief in support by James
                       Ezell, III Responses due by 1/19/2021(acg, Deputy Clerk) (Entered: 01/04/2021)
    01/07/2021   140   OBJECTION to second extension of time to file Special Report (Re: 138 Ruling on
                       Motion to Extend Deadline) by James Ezell, III (acg, Deputy Clerk) (Entered:
                       01/07/2021)
    01/12/2021   141   SPECIAL REPORT by Tiffany Ade, Mr. Bullock, Gentry, Damon Hininger, Carla
                       Hoover, Mr. Keys, Jessica Patterson, Perez, S. Pfaff, Ms. Pirece, Andrew Smith,
                       Terry Underwood, James Yates (With attachments)(Moore, Darrell) (Entered:
                       01/12/2021)
    01/12/2021   142   ANSWER to Amended Complaint (Re: 56 Amended Complaint) by Tiffany Ade,
                       Mr. Bullock, Gentry, Damon Hininger, Carla Hoover, Mr. Keys, Jessica Patterson,
                       Perez, S. Pfaff, Ms. Pirece, Andrew Smith, Terry Underwood, James Yates (Moore,
                       Darrell) (Entered: 01/12/2021)
    01/14/2021   143   MINUTE ORDER by Magistrate Judge Steven P. Shreder, lifting the stay (Re: 127
                       Ruling on Motion to Stay ) (acg, Deputy Clerk) (Entered: 01/14/2021)
    01/14/2021   144   MINUTE ORDER by Magistrate Judge Steven P. Shreder :Denying 139 Plaintiff's
                       motion for extension of time, because the motion presents multiple requests for relief.
                       Each request for relief must be a separate pleading, pursuant to Local Civil Rule
                       7.1(b). Plaintiff apparently is asking for an extension of time, to amend unspecified
                       pleadings, and for appointment of counsel. He is advised that he must follow Local
                       Civil Rule 9.2(c) for any amended pleadings. (acg, Deputy Clerk) (Entered:
                       01/14/2021)
    01/14/2021   145


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                       MINUTE ORDER by Magistrate Judge Steven P. Shreder : Setting deadlines to
                       include the following: (1) Exchange and file Witness and Exhibit Lists by April 15,
                       2021; (2) Discovery completed by May 15, 2021; (3) Dispositive motions due by
                       June 15, 2021. Additional deadlines to be set upon disposition of dispositive
                       motions.(acg, Deputy Clerk) (Entered: 01/14/2021)
    01/25/2021   146   MOTION to Amend/supplement as justice so required Fed. R. Civ P.15(a)2(d), (Re:
                       56 Amended Complaint ) by James Ezell, III Responses due by 2/8/2021(acg, Deputy
                       Clerk) (Entered: 01/25/2021)
    02/18/2021   147   MOTION to Amend (Re: 56 Amended Complaint ) to add defendants. Titled as a
                       Motion for extension of time to file pursuant to Rule 7.1(b) as it relates to Rule
                       9.2(c). by James Ezell, III Responses due by 3/4/2021(acg, Deputy Clerk) (Entered:
                       02/18/2021)
    02/18/2021   148   FIFTH MOTION for Appointment of Counsel by James Ezell, III Responses due by
                       3/4/2021(acg, Deputy Clerk) (Entered: 02/18/2021)
    02/18/2021   149   NOTICE for the Magistrate Judge to take Judicial Notice pursuant to Fed. R. Evd.
                       201 by James Ezell, III (acg, Deputy Clerk) (Entered: 02/18/2021)
    02/27/2021   150   RESPONSE in Opposition to Motion (Re: 148 MOTION for Appointment of
                       Counsel ) by Tiffany Ade, Mr. Bullock, Gentry, Damon Hininger, Carla Hoover, Mr.
                       Keys, Jessica Patterson, Perez, S. Pfaff, Ms. Pirece, Andrew Smith, Terry
                       Underwood, James Yates ;(Moore, Darrell) (Entered: 02/27/2021)
    03/08/2021   151   MOTION to Amend (Re: 56 Amended Complaint ) by James Ezell, III Responses
                       due by 3/22/2021(acg, Deputy Clerk) (Entered: 03/08/2021)
    03/10/2021   152   OBJECTION (Re: 150 Response in Opposition to Motion, ) by James Ezell, III (acg,
                       Deputy Clerk) (Entered: 03/10/2021)
    03/15/2021   153   LETTER from plainitff to Judge Heil re: appointment of counsel by James Ezell, III
                       (acg, Deputy Clerk) (Entered: 03/15/2021)
    03/24/2021   154   BRIEF in Support of Motion (Re: 148 MOTION for Appointment of Counsel ) by
                       James Ezell, III ;(acg, Deputy Clerk) (Entered: 03/24/2021)
    04/09/2021   155   MOTION for Extension of Time to Respond to Motion (Re: 136 MOTION to
                       Dismiss MOTION for Summary Judgment ) by James Ezell, III Responses due by
                       4/23/2021(acg, Deputy Clerk) (Entered: 04/09/2021)
    04/14/2021         PARTIAL FILING FEES Paid on 4/14/2021 in the amount of $289.82, receipt
                       number 19034 by James Ezell, III (jcb, Deputy Clerk) (Entered: 04/19/2021)
    04/15/2021   156   EXHIBIT LIST by Tiffany Ade, Mr. Bullock, Gentry, Damon Hininger, Carla
                       Hoover, Mr. Keys, Jessica Patterson, Perez, S. Pfaff, Ms. Pirece, Andrew Smith,
                       Terry Underwood, James Yates (Moore, Darrell) (Entered: 04/15/2021)
    04/15/2021   157   WITNESS LIST by Tiffany Ade, Mr. Bullock, Gentry, Damon Hininger, Carla
                       Hoover, Mr. Keys, Jessica Patterson, Perez, S. Pfaff, Ms. Pirece, Andrew Smith,
                       Terry Underwood, James Yates (Moore, Darrell) (Entered: 04/15/2021)
    04/20/2021   158   WITNESS AND EXHIBIT LIST by James Ezell, III (acg, Deputy Clerk) (Entered:
                       04/20/2021)
    04/20/2021   159


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                       MOTION to Depose Incarcerated Plaintiff and Brief in Support by Tiffany Ade, Mr.
                       Bullock, Gentry, Damon Hininger, Carla Hoover, Mr. Keys, Jessica Patterson, Perez,
                       S. Pfaff, Ms. Pirece, Andrew Smith, Terry Underwood, James Yates Responses due
                       by 5/4/2021(Moore, Darrell) (Entered: 04/20/2021)
    04/20/2021   160   MINUTE ORDER by Magistrate Judge Steven P. Shreder: Granting 159 defendant's
                       Motion to depose plaintiff(acg, Deputy Clerk) (Entered: 04/20/2021)
    05/10/2021   161   OBJECTION (Re: 160 Ruling on Motion to depose ) by James Ezell, III (acg, Deputy
                       Clerk) (Entered: 05/10/2021)
    05/10/2021   162   MOTION for Stay on defendants motion to depose by James Ezell, III Responses due
                       by 5/24/2021(acg, Deputy Clerk) (Entered: 05/10/2021)
    05/10/2021   163   **STRICKEN**Plaintiff's first set of interrogatories to defendants by James Ezell,
                       III (acg, Deputy Clerk) Modified on 5/12/2021 (acg, Deputy Clerk). (Entered:
                       05/10/2021)
    05/12/2021   164   MINUTE ORDER by Magistrate Judge Steven P. Shreder: Granting 155 Plaintiff's
                       motion for additional time to respond to Defendants Crow, Knutson, Cincotta,
                       Bryant, Hodgson, Parks, Walker and Nall's motion to dismiss or for summary
                       judgment 136 . Plaintiff is granted an additional twenty−one (21) days from the entry
                       of this Order to file his response. (SPS) (acg, Deputy Clerk) (Entered: 05/12/2021)
    05/12/2021   165   MINUTE ORDER by Magistrate Judge Steven P. Shreder : Directing Defendants
                       Ade, Bullock, Gentry, Hininger, Hoover, Keys, Patterson, Perez, Pfaff, Pierce, Smith,
                       Underwood, and Yates to file within seven (7) days an expedited response to
                       Plaintiff's motion for stay of the Court's Order allowing the defendants to depose
                       Plaintiff 160 162 . Plaintiff alleges he in the process of engaging an attorney, and he
                       wants the attorney to assist him at the deposition. (acg, Deputy Clerk) (Entered:
                       05/12/2021)
    05/12/2021   166   MINUTE ORDER by Magistrate Judge Steven P. Shreder: Striking Plaintiff's first set
                       of interrogatories to Defendants 163 . Pursuant to Local Civil Rule 26.1, discovery
                       material is not to be filed with the Court. Plaintiff must follow the Federal Rules of
                       Civil Procedure and the corresponding local rules with regard to discovery issues
                       (acg, Deputy Clerk) (Entered: 05/12/2021)
    05/12/2021   167   MINUTE ORDER by Magistrate Judge Steven P. Shreder : Denying 146 147 151
                       Plaintiffs three motions to amend or supplement his amended complaint for his
                       failure to submit a proposed amended complaint with each motion, as required by
                       Local Civil Rule 9.2(c). (acg, Deputy Clerk) (Entered: 05/12/2021)
    05/12/2021   168   MINUTE ORDER by District Judge John F. Heil, III : Denying 148 Plaintiff's fifth
                       motion for appointment of counsel. While unclear, he apparently is claiming that,
                       based on his G.E.D. test scores, counsel should be appointed. He further claims he is
                       unable to investigate crucial facts and speak with his witness. As advised by the
                       Court in its previous orders denying appointment of counsel 32 84 , the Court has
                       carefully reviewed the merits of Plaintiff's claims, the nature of factual issues raised
                       in his allegations, and his ability to investigate crucial facts, pursuant to McCarthy v.
                       Weinberg, 753 F.2d 836, 838 (10th Cir. 1985). The Court again finds the issues are
                       not complex, and Plaintiff appears capable of presenting the facts and arguments(acg,
                       Deputy Clerk) Modified on 5/12/2021 (acg, Deputy Clerk). (Entered: 05/12/2021)
    05/14/2021   169


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                       MOTION to Extend Deadline(s) by Tiffany Ade, Mr. Bullock, Gentry, Damon
                       Hininger, Carla Hoover, Mr. Keys, Jessica Patterson, Perez, S. Pfaff, Ms. Pirece,
                       Andrew Smith, Terry Underwood, James Yates Responses due by 5/28/2021(Moore,
                       Darrell) (Entered: 05/14/2021)
    05/14/2021   170   ERRATA/CORRECTION (Re: 169 MOTION to Extend Deadline(s) ) by Tiffany
                       Ade, Mr. Bullock, Gentry, Damon Hininger, Carla Hoover, Mr. Keys, Jessica
                       Patterson, Perez, S. Pfaff, Ms. Pirece, Andrew Smith, Terry Underwood, James Yates
                       (Moore, Darrell) (Entered: 05/14/2021)
    05/17/2021   171   MINUTE ORDER by Magistrate Judge Steven P. Shreder: Granting 169 Defendants
                       Ade, Bullock, Gentry, Hininger, Hoover, Keys, Patterson, Perez, Pfaff, Pierce, Smith,
                       Underwood, and Yatess motion for a 90−day extension of time to complete discovery
                       and to file a dispositive motion due 8/15/21.(acg, Deputy Clerk) (Entered:
                       05/17/2021)
    05/19/2021   172   MOTION to Compel discovery by James Ezell, III Responses due by 6/2/2021(acg,
                       Deputy Clerk) (Entered: 05/19/2021)
    05/20/2021   173   RESPONSE in Opposition to Motion (Re: 172 MOTION to Compel ) by Jason
                       Bryant, David Cincotta, Scott Crow, R. Hodgson, Mark Knutson, James Nall, Austin
                       Parks, Sgt. Walker ;(Singer, Desiree) (Entered: 05/20/2021)
    05/20/2021   174   RESPONSE in Opposition to Motion (Re: 172 MOTION to Compel ) by Tiffany
                       Ade, Mr. Bullock, Gentry, Damon Hininger, Carla Hoover, Mr. Keys, Jessica
                       Patterson, Perez, S. Pfaff, Andrew Smith, Terry Underwood, James Yates ;(Moore,
                       Darrell) (Entered: 05/20/2021)
    05/26/2021   175   OBJECTION (Re: 166 Minute Order Striking Document) by James Ezell, III (acg,
                       Deputy Clerk) (Entered: 05/26/2021)
    05/26/2021   176   OBJECTION (Re: 167 Ruling on Motion to Amend ) by James Ezell, III (acg,
                       Deputy Clerk) (Entered: 05/26/2021)
    05/26/2021   177   OBJECTION (Re: 171 Ruling on Motion to Extend Deadline, Resetting Scheduling
                       Order Dates) by James Ezell, III (acg, Deputy Clerk) (Entered: 05/26/2021)
    06/01/2021   178   SECOND MOTION for Extension of Time to Respond to Motion (Re: 136 MOTION
                       to Dismiss MOTION for Summary Judgment ) by James Ezell, III Responses due by
                       6/15/2021(acg, Deputy Clerk) (Entered: 06/01/2021)
    08/13/2021   179   MINUTE ORDER by Magistrate Judge Steven P. Shreder: Granting 178 Plaintiff's
                       second motion for extension of time to file a response to Defendants' motion to
                       dismiss or for summary judgment 136 . Plaintiff is granted an additional twenty−one
                       (21) days until September 3, 2021, to file the response. NO ADDITIONAL
                       EXTENSIONS OF TIME WILL BE GRANTED.(acg, Deputy Clerk) (Entered:
                       08/13/2021)
    08/16/2021   180   SIXTH MOTION for Appointment of Counsel by James Ezell, III Responses due by
                       8/30/2021(acg, Deputy Clerk) (Entered: 08/16/2021)
    08/18/2021   181   OPINION AND ORDER by District Judge John F. Heil, III: Denying 180 Sixth
                       Motion for Appointment of Counsel. (acg, Deputy Clerk) (Entered: 08/18/2021)
    09/01/2021   182   OBJECTION (Re: 181 Ruling on Motion for Appointment of Counsel ) by James
                       Ezell, III (acg, Deputy Clerk) (Entered: 09/01/2021)


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    09/01/2021   183   OBJECTION (Re: 179 Ruling on Motion for Extension of Time to Respond to
                       Motion, ) by James Ezell, III (acg, Deputy Clerk) (Entered: 09/01/2021)
    09/09/2021   184   RESPONSE to Motion (Re: 136 MOTION to Dismiss MOTION for Summary
                       Judgment ) by James Ezell, III ; (With attachments)(acg, Deputy Clerk) (Entered:
                       09/09/2021)
    09/21/2021   185   MINUTE ORDER by Magistrate Judge Steven P. Shreder: Denying Plaintiff's
                       motion for stay of deposition 162 . The Court has denied Plaintiff's numerous
                       motions for appointment of counsel (Dkts. 32, 84, 168, 181), and no attorney has
                       entered an appearance for Plaintiff. (acg, Deputy Clerk) (Entered: 09/21/2021)
    09/21/2021   186   MINUTE ORDER by Magistrate Judge Steven P. Shreder: Denying without
                       prejudice Plaintiff's motion to compel discovery regarding unspecified video footage
                       172 . According to the DOC's special report, there was no camera in use at the May
                       3, 2018, incident at James Crabtree Correctional Center (Dkt. 135−18 at 8). Plaintiff
                       has not advised the Court of the subject matter of the requested video, and he has
                       failed to include the certification required by Fed. R. Civ. P. 37(a)(1). (acg, Deputy
                       Clerk) (Entered: 09/21/2021)
    09/21/2021   187   SCHEDULING ORDER by Magistrate Judge Steven P. Shreder: Resetting deadlines
                       to include the following: (1) Exchange and file Witness and Exhibit Lists by
                       November 22, 2021; (2) Discovery completed by December 22, 2021; (3) Dispositive
                       motions due by January 24, 2022. Additional deadlines to be set upon disposition of
                       dispositive motions.(acg, Deputy Clerk) (Entered: 09/21/2021)
    10/08/2021   188   OBJECTION (Re: 185 Ruling on Motion to Stay) by James Ezell, III (acg, Deputy
                       Clerk) (Entered: 10/08/2021)
    10/08/2021   189   OBJECTION (Re: 186 Ruling on Motion to Compel) by James Ezell, III (acg,
                       Deputy Clerk) (Entered: 10/08/2021)
    11/01/2021   190   LETTER from Plaintiff to Court re: Discovery mailed to defendants by James Ezell,
                       III (acg, Deputy Clerk) (Entered: 11/01/2021)
    11/02/2021   191   ATTORNEY APPEARANCE by Kari Y. Hawkins on behalf of Jason Bryant, David
                       Cincotta, Scott Crow, R. Hodgson, Mark Knutson, James Nall, Austin Parks, Sgt.
                       Walker (Hawkins, Kari) (Entered: 11/02/2021)
    11/02/2021   192   MOTION to Substitute Attorney by Jason Bryant, David Cincotta, Scott Crow, R.
                       Hodgson, Mark Knutson, James Nall, Austin Parks, Sgt. Walker Responses due by
                       11/16/2021(Hawkins, Kari) (Entered: 11/02/2021)
    11/03/2021   193   MINUTE ORDER by Magistrate Judge Steven P. Shreder: Granting 192 Motion to
                       Substitute Attorney. Added attorney Kari Y. Hawkins for Jason Bryant, David
                       Cincotta, Scott Crow, R. Hodgson, Mark Knutson, James Nall, Austin Parks, Sgt.
                       Walker. Attorney Desiree Singer terminated. (acg, Deputy Clerk) (Entered:
                       11/03/2021)
    11/22/2021   194   WITNESS LIST by Tiffany Ade, Mr. Bullock, Gentry, Damon Hininger, Carla
                       Hoover, Mr. Keys, Jessica Patterson, Perez, S. Pfaff, Ms. Pirece, Andrew Smith,
                       Terry Underwood, James Yates (Moore, Darrell) (Entered: 11/22/2021)
    11/22/2021   195   EXHIBIT LIST by Tiffany Ade, Mr. Bullock, Gentry, Damon Hininger, Carla
                       Hoover, Mr. Keys, Jessica Patterson, Perez, S. Pfaff, Ms. Pirece, Andrew Smith,
                       Terry Underwood, James Yates (Moore, Darrell) (Entered: 11/22/2021)


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    11/22/2021   196   ATTORNEY APPEARANCE by Jessica Andrea Wilkes on behalf of Jason Bryant,
                       David Cincotta, Scott Crow, R. Hodgson, Mark Knutson, James Nall, Austin Parks,
                       Sgt. Walker (Wilkes, Jessica) (Entered: 11/22/2021)
    11/22/2021   197   EXHIBIT LIST by Jason Bryant, David Cincotta, Scott Crow, R. Hodgson, Mark
                       Knutson, James Nall, Austin Parks, Sgt. Walker (Hawkins, Kari) (Entered:
                       11/22/2021)
    11/22/2021   198   WITNESS LIST by Jason Bryant, David Cincotta, Scott Crow, R. Hodgson, Mark
                       Knutson, James Nall, Austin Parks, Sgt. Walker (Hawkins, Kari) (Entered:
                       11/22/2021)
    12/06/2021   199   Exhibit List by James Ezell, III (acg, Deputy Clerk) (Entered: 12/06/2021)
    12/06/2021   200   MOTION to Extend Scheduling Order Dates by James Ezell, III Responses due by
                       12/20/2021(acg, Deputy Clerk) (Entered: 12/06/2021)
    12/06/2021   201   MINUTE ORDER by Magistrate Judge Steven P. Shreder: Granting Plaintiff's
                       motion for extension of deadlines 200 in the scheduling order 187 . The discovery
                       deadline is extended to January 21, 2022, and the deadline for dispositive motions is
                       extended to February 23, 2022. (acg, Deputy Clerk) (Entered: 12/06/2021)
    12/13/2021   202   Plaintiff's WITNESS LIST by James Ezell, III (acg, Deputy Clerk) (Entered:
                       12/13/2021)
    01/28/2022   203   MOTION to Extend Scheduling Order Dates by James Ezell, III Responses due by
                       2/11/2022(acg, Deputy Clerk) (Entered: 01/28/2022)
    02/02/2022   204   MOTION for Summary Judgment and Brief in Support by Tiffany Ade, Mr. Bullock,
                       Gentry, Damon Hininger, Carla Hoover, Mr. Keys, Jessica Patterson, Perez, S. Pfaff,
                       Ms. Pirece, Andrew Smith, Terry Underwood, James Yates (With attachments)
                       Responses due by 2/16/2022(Moore, Darrell) (Entered: 02/02/2022)
    02/04/2022   205   MINUTE ORDER by Magistrate Judge Steven P. Shreder : Granting Plaintiff's
                       motion to extend scheduling order dates 203 to the extent the discovery deadline is
                       extended to February 21, 2022, and the deadline for dispositive motions is extended
                       to March 23, 2022. No additional extensions will be granted. (acg, Deputy Clerk)
                       (Entered: 02/04/2022)
    02/22/2022   206   THIRD MOTION to Extend Scheduling Order Dates by James Ezell, III Responses
                       due by 3/8/2022(acg, Deputy Clerk) (Entered: 02/22/2022)
    02/28/2022   207   MINUTE ORDER by Magistrate Judge Steven P. Shreder: Directing Defendants to
                       respond within fourteen (14) days to Plaintiff's allegations of restricted access to legal
                       materials at his facility in his third request for extension of time 206 . (acg, Deputy
                       Clerk) (Entered: 02/28/2022)
    03/02/2022   208   RESPONSE to Motion (Re: 206 MOTION to Extend Scheduling Order Dates ) by
                       Tiffany Ade, Mr. Bullock, Gentry, Damon Hininger, Carla Hoover, Mr. Keys, Jessica
                       Patterson, Perez, S. Pfaff, Ms. Pirece, Andrew Smith, Terry Underwood, James Yates
                       ;(Moore, Darrell) (Entered: 03/02/2022)
    03/14/2022   209   RESPONSE in Opposition to Motion (Re: 206 MOTION to Extend Scheduling Order
                       Dates ) by Jason Bryant, David Cincotta, Scott Crow, R. Hodgson, Mark Knutson,
                       James Nall, Austin Parks, Sgt. Walker ; (With attachments)(Wilkes, Jessica)
                       (Entered: 03/14/2022)


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    03/15/2022   210   MINUTE ORDER by Magistrate Judge Steven P. Shreder : According to the
                       Defendants' responses 208 209 to the Court's Order entered on February 28, 2022 207
                       , Plaintiff was transferred to Lawton Correctional Facility in Lawton, Oklahoma, on
                       May 20, 2021. Plaintiff is advised that he must promptly notify the Court of any
                       future change in his address, pursuant to Local Civil Rule 5.6(a). (acg, Deputy Clerk)
                       (Entered: 03/15/2022)
    03/15/2022   211   MINUTE ORDER by Magistrate Judge Steven P. Shreder: Granting Plaintiff's third
                       motion for extension of time 206 to the extent the discovery deadline is extended to
                       April 15, 2022, and the deadline for dispositive motions is extended to May 15, 2022.
                       According to Defendants' response 209 to the Court's Order entered on February 28,
                       2022 207 , the law library at his current facility was effectively closed for five days in
                       February 2022, because of a lockdown. However, the law library staff continued to
                       visit the housing units. The Court finds Plaintiff has adequate access to the prison law
                       library to meet the deadlines. This is Plaintiff's final extension of time for these
                       matters. (acg, Deputy Clerk) (Entered: 03/15/2022)
    03/18/2022   212   REPLY (Re: 209 Response) by James Ezell, III (acg, Deputy Clerk) Modified on
                       4/19/2022 (acg, Deputy Clerk). (Entered: 03/18/2022)
    03/22/2022   213   MINUTE ORDER by Court Clerk referring case to Magistrate Judge Jason A.
                       Robertson for all further proceedings in accordance with jurisdiction pursuant to 28
                       USC § 636. All future filings shall bear the case number CIV−19−302−JFH−JAR
                       (sms, Deputy Clerk) (Entered: 03/22/2022)
    04/11/2022   214   OPINION AND ORDER by District Judge John F. Heil, III: Granting 136 DOC
                       Defendants Motion to Dismiss and Motion for Summary Judgment. (acg, Deputy
                       Clerk) (Main Document 214 replaced on 4/11/2022) (acg, Deputy Clerk). (Entered:
                       04/11/2022)
    04/19/2022   215   MINUTE ORDER by Magistrate Judge Jason A. Robertson: On March 15, 2022, the
                       Court entered an Order 211 granting Plaintiff's third motion for an extension of time
                       206 . On March 18, 2022, the Court received Plaintiff's reply 212 to Defendant's
                       response 209 to the third motion for extension of time. Plaintiff alleges in his reply
                       that on February 17, 2022, his housing unit went on lockdown, which prevented him
                       from physically attending the law library from February 17, 2022, to March 7, 2022 [
                       212 at 3] According to the defendants, during lockdown, the library staff continues to
                       make rounds to each of the housing units, including Plaintiff's unit 209 . As stated in
                       the Court's Order entered on March 15, 2022 211 , Plaintiff has adequate access to
                       the prison law library through visits by the law library staff. To the extent, however,
                       that Plaintiff is requesting additional time for his deadlines, the discovery deadline is
                       extended to May 19, 2022, and the deadline for dispositive motions is extended to
                       June 19, 2022. No additional extensions will be granted.(acg, Deputy Clerk)
                       (Entered: 04/19/2022)
    04/21/2022   216   OBJECTION (Re: 214 Order and Opinion ) by James Ezell, III (With
                       attachments)(acg, Deputy Clerk) (Entered: 04/21/2022)
    05/02/2022   217   LETTER from Plaintiff to Court Clerk re: attorney fees by James Ezell, III (acg,
                       Deputy Clerk) (Entered: 05/02/2022)
    05/13/2022   218   LETTER from Plainitff to Court re: attorney by James Ezell, III (acg, Deputy Clerk)
                       (Entered: 05/13/2022)
    06/10/2022   219


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                       NOTICE OF APPEAL to Circuit Court (Interlocutory) (Re: 214 Ruling on Motion to
                       Dismiss, Ruling on Motion for Summary Judgment ) by James Ezell, III (acg, Deputy
                       Clerk) (Entered: 06/10/2022)
    06/10/2022   220   ACCOUNT STATEMENT of Prisoner Trust Fund by James Ezell, III (acg, Deputy
                       Clerk) (Entered: 06/10/2022)
    06/10/2022   221   Transmission of Notice of Appeal and Docket Sheet to U.S. Court of Appeals. Pro Se
                       Appeal Packet mailed to Petitioner (Re: 219 Notice of Appeal − Interlocutory ) (With
                       attachments)(jcb, Deputy Clerk) (Entered: 06/10/2022)
    06/10/2022   222   APPEAL NUMBER INFORMATION from Circuit Court assigning Case Number
                       22−7024 (Re: 219 Notice of Appeal − Interlocutory ) (jcb, Deputy Clerk) (Entered:
                       06/10/2022)
    06/14/2022   223   ORDER from Circuit Court (Re: 219 Notice of Appeal − Interlocutory ) (acg, Deputy
                       Clerk) (Entered: 06/15/2022)
    07/07/2022   224   DECISION from Circuit Court dismissing the Appeal (awaiting mandate) (Re: 219
                       Notice of Appeal − Interlocutory ). (jls, Deputy Clerk) (Entered: 07/07/2022)
    07/07/2022   225   MANDATE Issued Letter from Circuit Court (Re: 224 USCA Decision ). (jls,
                       Deputy Clerk) (Entered: 07/07/2022)
    01/25/2023   226   OPINION AND ORDER by District Judge John F. Heil, III: Summary judgment is
                       granted to Defendants Damon Hininger, James Yates, Gentry, Perez, Terry
                       Underwood, Jessica Patterson, Tiffany Ade, S. Pfaff, Carla Hoover; Pierce, Bullock,
                       Keys, and Andrew Smith, pursuant to Fed. R. Civ. P. 56(a). (acg, Deputy Clerk)
                       (Entered: 01/25/2023)
    01/25/2023   227   JUDGMENT by District Judge John F. Heil, III entering judgment (terminates case)
                       (acg, Deputy Clerk) (Entered: 01/25/2023)
    02/06/2023   228   NOTICE OF APPEAL to Circuit Court (Re: 226 Ruling on Motion for Summary
                       Judgment, 227 Judgment ) by James Ezell, III (acg, Deputy Clerk) (Entered:
                       02/06/2023)
    02/06/2023   229   MINUTE ORDER by Magistrate Judge Jason A. Robertson: Upon review of the file
                       in this case, the Court finds that the plaintiff has not submitted a proper motion for
                       leave to proceed in forma pauperis for appeal purposes or paid the $505.00 filing fee.
                       The plaintiff is directed to submit a properly executed motion for leave to proceed in
                       forma pauperis for the appeal, with original signature and have the Trust Fund
                       Officer at his/her facility complete (with an original signature) the Required
                       Certification of Statement of Institutional Accounts and provide a current 6−month
                       financial accounting statement and return the completed motion to the Office of the
                       Clerk or pay the filing fee of $505.00 within 20 days or by 2/27/23. The Clerk is
                       directed to provide the plaintiff with a motion for leave to proceed in forma pauperis
                       form and an instruction sheet.(acg, Deputy Clerk) (Entered: 02/06/2023)
    02/06/2023   230   Transmission of Notice of Appeal and Docket Sheet to U.S. Court of Appeals. Pro Se
                       Appeal Packet mailed to Petitioner. (Re: 228 Notice of Appeal − Final Judgment)
                       (With attachments)(adw, Deputy Clerk) (Entered: 02/06/2023)
    02/06/2023   231   APPEAL NUMBER INFORMATION from Circuit Court assigning Case Number
                       23−7007. (Re: 228 Notice of Appeal − Final Judgment) (adw, Deputy Clerk)
                       (Entered: 02/06/2023)


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    02/09/2023   232   MOTION for Reconsideration (Re: 226 Ruling on Motion for Summary Judgment)
                       by James Ezell, III Responses due by 2/23/2023(acg, Deputy Clerk) (Entered:
                       02/09/2023)
    02/27/2023   233   MOTION for Leave to Appeal in Forma Pauperis (Re: 228 Notice of Appeal − Final
                       Judgment ) by James Ezell, III Responses due by 3/13/2023(acg, Deputy Clerk)
                       (Entered: 02/27/2023)
    02/27/2023   234   ORDER by District Judge John F. Heil, III : Granting 233 Motion for Leave to
                       Appeal in Forma Pauperis; Appeal Filing Fee due by 3/20/2023. (acg, Deputy Clerk)
                       (Entered: 02/27/2023)
    03/21/2023   235   ORDER from Circuit Court abating appeal pending ruling on Appellant's Motion to
                       Reconsider. (Re: 228 Notice of Appeal − Final Judgment) (adw, Deputy Clerk)
                       (Entered: 03/21/2023)
    04/03/2023         PARTIAL FILING FEES Paid on 4/3/2023 in the amount of $5.59, receipt number
                       21058 by James Ezell, III (eaw, Deputy Clerk). (Entered: 04/03/2023)
    04/04/2023   236   OPINION AND ORDER by District Judge John F. Heil, III denying 232 Motion to
                       Reconsider (acg, Deputy Clerk) (Entered: 04/06/2023)
    04/10/2023   237   ORDER from Circuit Court lifting abatement of appeal. (Re: 228 Notice of Appeal −
                       Final Judgment) (adw, Deputy Clerk) (Entered: 04/10/2023)




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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF OKLAHOMA

  JAMES EZELL, III

  Plaintiff,
                                                  Case No: 19-cv-302-JHP-SPS
  v.

  DAMON HININGER, et al.,
                                 Defendants.

       APPLICATION TO STAY PROCEEDINGS AND REQUEST FOR ORDER
            REQUIRING SPECIAL REPORT AND BRIEF IN SUPPORT

         COME NOW Defendants, by and through Assistant Attorney General Desiree D.

 Singer, and request this Court to stay the proceedings in the above styled matter and order the

 Oklahoma Department of Corrections (“ODOC”) to submit a Martinez report, also known as

 a Special Report, pursuant to Martinez v. Aaron, 570 F.2d 317 (10th Cir. 1978). In support of

 this request, Defendants offer this brief in support.

                                        BRIEF IN SUPPORT

         In Martinez v. Aaron, 570 F.2d 317, 319 (10th Cir. 1978), the Tenth Circuit approved

 the practice of a court-authorized investigation and report conducted by corrections officials

 “to undertake a review of the subject matter of the Complaint” in order to provide the court

 with additional information for the processing of the prisoner’s claim. The Martinez Court

 deemed the investigation and report “to be not only proper but necessary” to fully consider

 the issues brought before the court. Id. The Tenth Circuit ultimately held that the district court

 properly dismissed the Martinez plaintiff’s claim as being frivolous under 28 U.S.C. §1915 after

 ordering and reviewing such a report. Id.




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         The Martinez procedure has been regularly upheld and recommended. See, Johnson v.

 Parke, 642 F.2d 377, 378 (10th Cir. 1981); Robinson v. Benton, 579 F.2d 70 (10th Cir. 1978);

 Martinez v. Chavez, 574 F.2d 1043 (10th Cir. 1973) (review of county jail conditions); Wiggins v.

 New Mexico State Supreme Court Clerk, 664 F.2d 812, 817 (10th Cir. 1981) (“we suggest that the

 procedures, order and practice expressly approved by this Court in Martinez v. Aaron, [citation

 omitted] may be applicable”).

         This Court would similarly benefit from a Special Report that addresses the facts of the

 incidents alleged in Plaintiff Complaint and ODOC policies relevant thereto. Specifically, as a

 threshold matter, the Special Report would include all grievance records, thereby aiding the

 Court in its determination of whether Plaintiff exhausted administrative remedies prior to

 commencement of suit, as required by law. The Special Report would also contain all ODOC

 policies, administrative/facility records, and inmate-specific documentation relevant to

 Plaintiff’s claims.

         The Tenth Circuit has expressly approved the use of Martinez Reports for the purpose

 of developing a record for determining “which facts alleged in the Complaint were relevant,

 accurate, and subject to bona fide dispute.” Chavez, 574 F.2d at 1046. See also Phillips v. Carey,

 638 F.2d 207, 208 (10th Cir. 1981), which noted that the facts of the incidents complained of

 by plaintiff inmates are often not before the Court in any sufficient degree, thus necessitating

 a Martinez Report. “The purpose of the Martinez report is to identify and clarify the issues

 plaintiff raises in his complaint.” Gutierrez v. Torres, 416 F. App’x 764, 766 n. 4 (10th Cir. 2011)

 (unpublished opinion) (citing Hall v. Bellmon, 935 F.2d 1106, 1112 (10th Cir. 1991). The

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 Martinez report assists in “develop[ing] a record sufficient to ascertain whether there are any

 factual or legal bases” for the alleged claims. Breedlove v. Costner, 405 F. App’x 338, 343 (10th

 Cir. 2010) (unpublished opinion) (citing Hall, 935 F.2d at 1109).

        For the foregoing reasons, the Defendants urge this Court to issue an Order staying

 proceedings herein for at least sixty (60) days and requiring the Oklahoma Department of

 Corrections to submit a Special Report pursuant to the authority set forth above.


                                             Respectfully submitted,

                                             /s/ Desiree D. Singer
                                             DESIREE D. SINGER, OBA #33053
                                             Assistant Attorneys General
                                             Oklahoma Attorney General’s Office
                                             Litigation Division
                                             313 NE 21st Street
                                             Oklahoma City, Oklahoma 73105
                                             Telephone: (405) 521-3921
                                             Facsimile: (405) 521-4518
                                             Email: desiree.singer@oag.ok.gov
                                             Attorney for Defendant




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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 8th day of November 2019, I electronically transmitted the
 foregoing document to the Clerk of Court using the ECF System for filing a true and correct
 copy of the foregoing was sent via U.S. mail, postage prepaid to the following who is not an
 ECF registrant:

 James Ezell, III # 237230
 Davis Correctional Facility
 6888 E. 133rd Road
 Holdenville, OK 74848
 Plaintiff pro se

                                                    /s/ Desiree D. Singer
                                                    Desiree D. Singer




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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF OKLAHOMA

    JAMES EZELL, III,

                           Plaintiff,

    vs.                                                Case No. CIV-19-302-JHP-SPS

    JAMES YATES, ET Al.,

                           Defendants.


    DEFENDANTS’ APPLICATION FOR ORDER DIRECTING PREPARATION OF
     MARTINEZ REPORT AND HOLDING IN ABEYANCE/SET DEADLINE FOR
                 ANSWER AND/OR DISPOSITIVE MOTIONS


           COME NOW Defendants Yates, Gentry, Underwood, Perez, Patterson, Ade, Pfaff

    and Hoover by and through their attorney of record Darrell L. Moore, OBA 6332 of J.

    Ralph Moore, P.C., hereby making application to the Court for an Order holding in

    abeyance Defendants’ time to Answer, setting an alternate deadline for filing an answer

    and/or dispositive motions, and, requiring the preparation and submission of a Special

    Report. In support of this application, Defendants state as follows:

           1.      Plaintiff’s complaint was filed with this Court pursuant to 42 U.S.C. §

    1983. Plaintiff James Ezell, III, ODOC # #237370, is a person in the custody of the

    Oklahoma Department of Corrections and is presently confined in a penal institution in

    the State of Oklahoma. Plaintiff alleges in his complaint that Defendants violated his

    civil rights. Specifically, Plaintiff asserts that the Defendants have violated his First,

    Eight and Fourteenth Amendment rights.

           2.      The United States Court of Appeals for the Tenth Circuit, in Martinez v.

    Aaron, 570 F.2d 317 (10th Cir. 1978), held that in an inmate litigation case it was an



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    appropriate step for the District Court to Order prison officials to prepare an

    administrative record reviewing a plaintiff’s allegations so as to enable the Court to

    decide preliminary issues. Several years later, in Hall v. Bellmon, 935 F.2d 1106, 1109

    (10th Cir. 1991), the Tenth Circuit Court of Appeals stated: “When the pro se plaintiff is a

    prisoner, a court-authorized investigation and report by prison officials (referred to as a

    Martinez report) is not only proper, but may be necessary to develop a record sufficient to

    ascertain whether there are any factual or legal bases for the prisoner's claims.”

           3.      CoreCivic, Inc., owns and operates the Davis Correctional Facility,

    Holdenville, Oklahoma. Defendants Yates, Gentry, Underwood, Perez, Patterson, Ade,

    Pfaff and Hoover are employed by CoreCivic at Davis Correctional Facility. The

    Oklahoma Department of Corrections and CoreCivic have contracted to house prisoners

    at the medium security/maximum security prison facility named “Davis Correctional

    Facility.”

           4.      Defendants request the Court issue an Order directing officials responsible

    for the operation of Davis Correctional Facility to prepare an administrative report for

    submission to the Court, consistent with the Martinez and Hall holdings. Defendants

    request authority to obtain and review all pertinent records including, but not limited to,

    medical and psychiatric records. Defendants further request the Court issue an Order

    holding in abeyance further discovery and their time to file an Answer and/or file

    dispositive motions until such time as a Special Report has been prepared and filed with

    the Court.

           WHEREFORE, premises considered, Defendants hereby request the Court enter

    an Order requiring and authorizing Davis Correctional Facility prison officials to prepare




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    and file a Special Report; and, an Order setting deadlines for the filing of an answer

    and/or dispositive motion; and, for any and all further relief to which the Defendants may

    be entitled.

                                                  Respectfully submitted,
                                                  Defendants Yates, Gentry, Underwood,
                                                  Perez, Patterson, Ade, Pfaff and Hoover


                                                  BY:
                                                  Darrell L. Moore, OBA #6332
                                                  J. Ralph Moore, PC
                                                  P.O. Box 368
                                                  Pryor, OK 74362
                                                  Tele: (918) 825-0332
                                                  Fax: (918) 825-7730
                                                  darrellmoore@jralphmoorepc.com



                                           Certificate of Service

     I hereby certify that on November 22, 2019, I electronically transmitted the
    attached document to the Clerk of Court using the ECF System for filing. Based on the
    records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
    the following ECF registrants: (insert names)

     I hereby certify that on November 22, 2019, I served the attached document by
    regular US Mail on the following, who are not registered participants of the ECF System:

    James Ezell, III
    237370
    Davis Correctional Facility
    6888 E 133rd Rd
    Holdenville, OK 74848




                                                  DARRELL L. MOORE




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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF OKLAHOMA

   JAMES EZELL, III

   Plaintiff,
                                                   Case No: 19-cv-302-JHP-SPS
   v.

   DAMON HININGER, et al.,
                                  Defendants.

        APPLICATION TO STAY PROCEEDINGS AND REQUEST FOR ORDER
             REQUIRING SPECIAL REPORT AND BRIEF IN SUPPORT

          COME NOW Defendants, by and through Assistant Attorney General Desiree D.

  Singer, and request this Court to stay the proceedings in the above styled matter and order the

  Oklahoma Department of Corrections (“ODOC”) to submit a Martinez report, also known as

  a Special Report, pursuant to Martinez v. Aaron, 570 F.2d 317 (10th Cir. 1978). In support of

  this request, Defendants offer this brief.

                                         BRIEF IN SUPPORT

          In Martinez v. Aaron, 570 F.2d 317, 319 (10th Cir. 1978), the Tenth Circuit approved

  the practice of a court-authorized investigation and report conducted by corrections officials

  “to undertake a review of the subject matter of the Complaint” in order to provide the court

  with additional information for the processing of the prisoner’s claim. The Martinez Court

  deemed the investigation and report “to be not only proper but necessary” to fully consider

  the issues brought before the court. Id. The Tenth Circuit ultimately held that the district court

  properly dismissed the Martinez plaintiff’s claim as being frivolous under 28 U.S.C. §1915 after

  ordering and reviewing such a report. Id.




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          The Martinez procedure has been regularly upheld and recommended. See, Johnson v.

  Parke, 642 F.2d 377, 378 (10th Cir. 1981); Robinson v. Benton, 579 F.2d 70 (10th Cir. 1978);

  Martinez v. Chavez, 574 F.2d 1043 (10th Cir. 1973) (review of county jail conditions); Wiggins v.

  New Mexico State Supreme Court Clerk, 664 F.2d 812, 817 (10th Cir. 1981) (“we suggest that the

  procedures, order and practice expressly approved by this Court in Martinez v. Aaron, [citation

  omitted] may be applicable”).

          This Court would similarly benefit from a Special Report that addresses the facts of the

  incidents alleged in Plaintiff Complaint and ODOC policies relevant thereto. Specifically, as a

  threshold matter, the Special Report would include all grievance records, thereby aiding the

  Court in its determination of whether Plaintiff exhausted administrative remedies prior to

  commencement of suit, as required by law. The Special Report would also contain all ODOC

  policies, administrative/facility records, and inmate-specific documentation relevant to

  Plaintiff’s claims.

          The Tenth Circuit has expressly approved the use of Martinez Reports for the purpose

  of developing a record for determining “which facts alleged in the Complaint were relevant,

  accurate, and subject to bona fide dispute.” Chavez, 574 F.2d at 1046. See also Phillips v. Carey,

  638 F.2d 207, 208 (10th Cir. 1981), which noted that the facts of the incidents complained of

  by plaintiff inmates are often not before the Court in any sufficient degree, thus necessitating

  a Martinez Report. “The purpose of the Martinez report is to identify and clarify the issues

  plaintiff raises in his complaint.” Gutierrez v. Torres, 416 F. App’x 764, 766 n. 4 (10th Cir. 2011)

  (unpublished opinion) (citing Hall v. Bellmon, 935 F.2d 1106, 1112 (10th Cir. 1991). The

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  Martinez report assists in “develop[ing] a record sufficient to ascertain whether there are any

  factual or legal bases” for the alleged claims. Breedlove v. Costner, 405 F. App’x 338, 343 (10th

  Cir. 2010) (unpublished opinion) (citing Hall, 935 F.2d at 1109).

         For the foregoing reasons, the Defendants urge this Court to issue an Order staying

  proceedings herein for at least sixty (60) days and requiring the Oklahoma Department of

  Corrections to submit a Special Report pursuant to the authority set forth above.


                                              Respectfully submitted,

                                              /s/ Desiree D. Singer
                                              DESIREE D. SINGER, OBA #33053
                                              Assistant Attorneys General
                                              Oklahoma Attorney General’s Office
                                              Litigation Division
                                              313 NE 21st Street
                                              Oklahoma City, Oklahoma 73105
                                              Telephone: (405) 521-3921
                                              Facsimile: (405) 521-4518
                                              Email: desiree.singer@oag.ok.gov
                                              Attorney for Defendant




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                                CERTIFICATE OF SERVICE

         I hereby certify that on this 2nd day of January 2020, I electronically transmitted the
  foregoing document to the Clerk of Court using the ECF System for filing a true and correct
  copy of the foregoing was sent via U.S. mail, postage prepaid to the following who is not an
  ECF registrant:

  James Ezell, III # 237230
  Davis Correctional Facility
  6888 E. 133rd Road
  Holdenville, OK 74848
  Plaintiff pro se

                                                    /s/ Desiree D. Singer
                                                    Desiree D. Singer




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF OKLAHOMA

     JAMES EZELL, III,

                            Plaintiff,

     vs.                                                Case No. CIV-19-302-JHP-SPS

     JAMES YATES, ET Al.,

                            Defendants.


         DEFENDANTS’ SECOND APPLICATION FOR ORDER DIRECTING
     PREPARATION OF MARTINEZ REPORT AND HOLDING IN ABEYANCE/SET
           DEADLINE FOR ANSWER AND/OR DISPOSITIVE MOTIONS


            COME NOW Defendants Hininger, Yates, Gentry, Underwood, Perez, Patterson,

     Ade, Pfaff, Hoover, Keys, Bullock, Pierce and Smith by and through their attorney of

     record Darrell L. Moore, OBA 6332 of J. Ralph Moore, P.C., hereby making their second

     application to the Court for an Order holding in abeyance Defendants’ time to Answer,

     setting an alternate deadline for filing an answer and/or dispositive motions, and,

     requiring the preparation and submission of a Special Report. In support of this

     application, Defendants state as follows:

            1.      Plaintiff has filed an Amended complaint with this Court pursuant to 42

     U.S.C. § 1983. Plaintiff James Ezell, III, ODOC # #237370, is a person in the custody of

     the Oklahoma Department of Corrections and is presently confined in a penal institution

     in the State of Oklahoma. Plaintiff alleges in his complaint that Defendants violated his

     civil rights. Specifically, Plaintiff asserts that the Defendants have violated his First,

     Eight and Fourteenth Amendment rights.




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            2.      The United States Court of Appeals for the Tenth Circuit, in Martinez v.

     Aaron, 570 F.2d 317 (10th Cir. 1978), held that in an inmate litigation case it was an

     appropriate step for the District Court to Order prison officials to prepare an

     administrative record reviewing a plaintiff’s allegations so as to enable the Court to

     decide preliminary issues. Several years later, in Hall v. Bellmon, 935 F.2d 1106, 1109

     (10th Cir. 1991), the Tenth Circuit Court of Appeals stated: “When the pro se plaintiff is a

     prisoner, a court-authorized investigation and report by prison officials (referred to as a

     Martinez report) is not only proper, but may be necessary to develop a record sufficient to

     ascertain whether there are any factual or legal bases for the prisoner's claims.”

            3.      CoreCivic, Inc., owns and operates the Davis Correctional Facility,

     Holdenville, Oklahoma. Defendants Yates, Gentry, Underwood, Perez, Patterson, Ade,

     Pfaff, Hoover, Keys, Bullock, Pierce and Smith are currently, or were at the time they

     were served, employed by CoreCivic at Davis Correctional Facility. The Oklahoma

     Department of Corrections and CoreCivic have contracted to house prisoners at the

     medium security/maximum security prison facility named “Davis Correctional Facility.”

            4.      Defendants have previously made a similar motion, on November 22,

     2019. That Motion [Doc# 44], was denied by the Court on December 18, 2019,

     Magistrate Shreder stated in his minute that while the motion was denied, Defendants

     were granted leave to re-urge the motions after service of the amended complaint. [Doc#

     53]. Defendants Keys, Bullock, Pierce, Smith were served on January 17, 2020.

            5.      Defendants request the Court issue an Order directing officials responsible

     for the operation of Davis Correctional Facility to prepare an administrative report for

     submission to the Court, consistent with the Martinez and Hall holdings. Defendants




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     request authority to obtain and review all pertinent records including, but not limited to,

     medical and psychiatric records. Defendants further request the Court issue an Order

     holding in abeyance further discovery and their time to file an Answer and/or file

     dispositive motions until such time as a Special Report has been prepared and filed with

     the Court.

             WHEREFORE, premises considered, Defendants hereby request the Court enter

     an Order requiring and authorizing Davis Correctional Facility prison officials to prepare

     and file a Special Report; and, an Order setting deadlines for the filing of an answer

     and/or dispositive motion; and, for any and all further relief to which the Defendants may

     be entitled.

                                                   Respectfully submitted,
                                                   Defendants Hininger, Yates, Gentry,
                                                   Underwood, Perez, Patterson, Ade, Pfaff,
                                                   Hoover, Keys, Bullock, Pierce and Smith



                                                   BY:
                                                   Darrell L. Moore, OBA #6332
                                                   J. Ralph Moore, PC
                                                   P.O. Box 368
                                                   Pryor, OK 74362
                                                   Tele: (918) 825-0332
                                                   Fax: (918) 825-7730
                                                   darrellmoore@jralphmoorepc.com




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                                            Certificate of Service

      I hereby certify that on January 21, 2020, I electronically transmitted the
     attached document to the Clerk of Court using the ECF System for filing. Based on the
     records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
     the following ECF registrants: (insert names)

      I hereby certify that on January 21, 2020, I served the attached document by regular
     US Mail on the following, who are not registered participants of the ECF System:

     James Ezell, III
     237370
     Davis Correctional Facility
     6888 E 133rd Rd
     Holdenville, OK 74848




                                                   DARRELL L. MOORE




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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF OKLAHOMA

  JAMES EZELL, III,                                )
                                                   )
                                      Plaintiff,   )
                                                   )
  v.                                               )               No. CIV 19-302-JHP-SPS
                                                   )
  DAMON HININGER, et al.,                          )
                                                   )
                               Defendants.         )

                       OPINION AND ORDER DENYING
               SECOND MOTION FOR APPOINTMENT OF COUNSEL

         Plaintiff has filed a motion for reconsideration of his previously-denied motion for

  appointment of counsel (Dkts. 32, 77). The Court construes the present motion as a

  second motion for appointment of counsel.

         Plaintiff alleges the law library supervisor has denied him access to the prison law

  library and has written a misconduct against him for filing a Request to Staff. Plaintiff

  further asserts the defendants’ threats and retaliation have interfered with his ability to

  investigate crucial facts and to litigate the complex legal matters in his case.

         It is undisputed that access to the courts and the means to effectuate such access

  are fundamental constitutional rights.      Bounds v. Smith, 430 U.S. 817, 828 (1977).

  There is, however, no constitutional right to appointment of counsel in a civil case.

  Durre v. Dempsey, 869 F.2d 543, 547 (10th Cir. 1989); Carper v. DeLand, 54 F.3d 613,

  616 (10th Cir. 1995). The decision whether to appoint counsel in a civil matter lies within

  the discretion of the district court. Williams v. Meese, 926 F.2d 994, 996 (10th Cir.

  1991). “The burden is on the applicant to convince the court that there is sufficient merit




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  to his claim to warrant the appointment of counsel.” Steffey v. Orman, 461 F.3d 1218,

  1223 (10th Cir. 2006) (quoting Hill v. SmithKline Beecham Corp., 393 F.3d 1111, 1115

  (10th Cir. 2004)). It is not enough “that having counsel appointed would [assist the

  prisoner] in presenting his strongest possible case, [as] the same could be said in any

  case.” Steffey, 461 F.3d at 1223 (quoting Rucks v. Boergermann, 57 F.3d 978, 979 (10th

  Cir. 1995)).

         The Court again has carefully reviewed the merits of Plaintiff’s claims, the nature

  of factual issues raised in his allegations, and his ability to investigate crucial facts.

  McCarthy v. Weinberg, 753 F.2d 836, 838 (10th Cir. 1985) (citing Maclin v. Freake, 650

  F.2d 885, 887-88 (7th Cir. 1981)). The Court concludes the issues are not complex, and

  Plaintiff appears capable of adequately presenting facts and arguments.

         ACCORDINGLY, Plaintiff’s second motion for appointment of counsel (Dkt.

  77) is DENIED.

         IT IS SO ORDERED this 7th day of February 2020.




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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF OKLAHOMA

   JAMES EZELL, III

   Plaintiff,
                                                      Case No: 19-cv-302-RAW-SPS
   v.

   DAMON HININGER, et al.,
                                  Defendants.

   DEFENDANTS’ RESPONSE AND OBJECTION TO PLAINTIFF’S MOTION
       FOR PRELIMINARY INJUNCTION AND BRIEF IN SUPPORT

          Defendants Scott Crow, Mark Knutson, David Cincotta, Jason Bryant, Kevin

  Hodgson, James Nall, Austin Parks, and Bradley Walker, in their official and individual

  capacities, by and through their counsel of record, Assistant Attorney General Desiree D.

  Singer, and respectfully request this Court deny Plaintiff’s “Order to Show Cause for a

  Preliminary Injunction Order Eventually An Permanent Injunction (sic)” [Doc. 97]

  (hereinafter “Motion for Preliminary Injunction.” In support of this objection, Defendants

  submit the following brief.

                                      BRIEF IN SUPPORT

                                STATEMENT OF THE CASE

          Plaintiff, an inmate in the custody of the Oklahoma Department of Corrections

  (“ODOC”), brings this suit under 42 U.S.C. § 1983 alleging violation of his rights under the

  First, Sixth, Eighth and Fourteenth Amendments to the United States Constitution by

  numerous employees of ODOC and Core Civic, the operator of the private prison where he

  is currently housed, Davis Correctional Facility. Specifically, Plaintiff alleges denial of access
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  to the court and retaliation for filing grievances and lawsuits related to conditions of

  confinement. He also alleges excessive force. Plaintiff’s Amended Complaint does not clearly

  state what type of relief he is seeking.

                                     STANDARD OF REVIEW

         To obtain a preliminary injunction, Plaintiff must establish (1) “a substantial likelihood

  of success on the merits;” (2) “irreparable harm to the movant if the injunction is denied;” (3)

  “the threatened injury outweighs the harm that the preliminary injunction may cause the

  opposing party;” and (4) “the injunction, if issued, will not adversely affect the public

  interest.” General Motors Corp. v. Urban Gorilla, LLC, 500 F.3d 1222, 1226 (10th Cir. 2007). A

  preliminary injunction is an “extraordinary remedy that is granted only when the movant’s

  right to relief [is] clear and unequivocal.” First W. Capital Mgmt. Co. v. Malamed, 874 F.3d 1136,

  1145 (10th Cir. 2017) (alteration in original) (citation and internal quotation marks omitted).

                               ARGUMENT AND AUTHORITY

  PROPOSITION I: PLAINTIFF FAILS TO ESTABLISH A LIKELIHOOD OF
                 SUCCESS ON THE MERITS.

  First Amendment Access to Courts

         The right to access the courts is part of the First Amendment right to petition the

  government for redress and “guarantees the right to present to a court of law allegations

  concerning the violation of constitutional rights” protected by the Due Process Clause. Smith

  v. Maschner, 899 F.2d 940, 947 (10th Cir. 1990). With regard to the rights of inmates, the

  Supreme Court has held that “the fundamental constitutional right of access to the courts

  requires prison authorities to assist inmates in the preparation and filing of meaningful legal
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  papers.” Bounds v. Smith, 430 U.S. 817 (1977). However, this right does not guarantee “the right

  to a law library or to legal assistance,” but merely to “the means for ensuring ‘a reasonably

  adequate opportunity to present claimed violations of fundamental constitutional rights to the

  courts.’” Lewis v. Casey, 518 U.S. 343, (1996) (quoting Bounds, 430 U.S. at 825). Further, the

  right to access to courts is “only [the right] to present. . . grievances to the courts.” Id. at 354.

  It does not require prison administrators to supply resources guaranteeing inmates’ ability

  “to litigate effectively once in court” or to “conduct generalized research.” Id. at 360. Instead, the

  right “guarantees no particular methodology but rather the conferral of a capability—the

  capability of bringing contemplated challenges to sentences or conditions of confinement

  before the courts.” Id. at 356.

         Here, Plaintiff has clearly been allowed access to the courts. In the present action alone,

  he has filed an original and amended complaint [Docs. 1 and 56]; has moved for appointment

  of counsel several times [Docs. 31 and 42]; and has even filed appeals [Docs. 49, 86 and 93].

  In addition, he has filed numerous lawsuits in the past regarding conditions of his

  confinement. [Doc. 56] at 15. While Plaintiff may be unhappy with the quality of the law library

  assistance he has access to, he cannot show that he has been unable to seek redress for any

  alleged wrongs.

         As to the present Defendants, Plaintiff fails to allege any facts (either in his Amended

  Complaint or in the present Motion) as to any of these Defendants supporting a claim of

  denial of access to courts. At most, Plaintiff asserts that other defendants failed to contact

  Defendant Cincotta to get case law that Plaintiff requested. This does not give rise to liability

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  for a violation of Plaintiff’s First Amendment rights, and Plaintiff’s heavy burden is not

  satisfied.

  First Amendment Retaliation

          “Prison officials may not retaliate against or harass an inmate because of

  the inmate's exercise of his constitutional rights.” Dawson v. Audet, 636 F. App'x 753, 755 (10th

  Cir. 2016) (quoting Peterson v. Shanks, 149 F.3d 1140, 1144 (10th Cir. 1998)) (internal quotation

  marks omitted). Specifically, “officials may not retaliate against prisoners for filing

  administrative grievances.” Id. (citing Gee v. Pacheco, 627 F.3d 1178, 1189 (10th Cir. 2010). To

  establish liability for First Amendment retaliation, Plaintiff must show: (1) that he was

  "engaged in constitutionally protected activity,” (2) that Defendants caused him “to suffer an

  injury that would chill a person of ordinary firmness from continuing to engage in that

  activity,” and (3) that Defendants’ “action was substantially motivated as a response to

  Plaintiff’s exercise of his constitutionally protected activity.” Id. at 755-56 (quoting Shero v. City

  of Grove, 510 F.3d 1196, 1203 (10th Cir. 2007) (internal quotation marks omitted). To satisfy

  the third prong, Plaintiff must show that but for the retaliatory motive, the incidents to which

  he refers. . . would not have taken place.” Id. at 756 (quoting Peterson v. Shanks, 149 F.3d 1140,

  1144 (10th Cir. 1998)) (internal quotation marks omitted).

          Here, Plaintiff claims that Defendants Hodgson, Parks and Walker used excessive force

  against him in retaliation for filing grievances and lawsuits. He also claims that Defendants

  Bryant and Nall illegally facilitated his transfer to DCF in retaliation for him exercising his

  First Amendment rights. Plaintiff’s Motion for Preliminary Injunction, however, does not

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  show that he will be able to satisfy the third prong, rather he essentially regurgitates the facts

  he alleged in his Amended Complaint. There are numerous legitimate justifications for use of

  force as well as transfer of inmates. These would have nothing to do with Plaintiff’s grievance

  history. Because Plaintiff’s Motion fails to satisfy his heavy burden, his Motion must be denied.

  Sixth Amendment

         The Sixth Amendment to the United States Constitution sets forth rights of criminal

  defendants in the course of criminal prosecution. U.S. CONST. AMEND. VI. Plaintiff has already

  been convicted and his claims in this civil suit are not governed by the Sixth Amendment.

  Therefore, Plaintiff cannot show any likelihood of success on this claim and his Motion for

  Preliminary Injunction must be denied.

  Eighth Amendment

         “[A]n excessive force claim involves two prongs: (1) an objective prong that asks if the

  alleged wrongdoing was objectively harmful enough to establish a constitutional violation, and

  (2) a subjective prong under which the plaintiff must show that the officials acted with a

  sufficiently culpable state of mind. An official has a culpable state of mind if he

  uses force “maliciously and sadistically for the very purpose of causing harm,” rather than “in

  a good faith effort to maintain or restore discipline.” Redmond v. Crowther, 882 F.3d 927, 936–

  37 (10th Cir. 2018) (citations omitted).

         Plaintiff’s Motion for Preliminary Injunction fails to establish his likelihood of success

  on this claim. Rather, he simply makes the legal conclusion that “[t]he Defendants at James

  Crabtree used excessive force, illegal transfer plaintiff (sic) to a supermax prison because

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  plaintiff complaining (sic) of filing lawsuit[.]” [Doc. 97] at 5. Plaintiff fails to suggest that any

  force used was applied absent “a good faith effort to maintain or restore discipline.” Redmond,

  882 F.3d at 936–37 (citations omitted). Plaintiff’s Amended Complaint implies that

  correctional officers were attempting to remove Plaintiff from his cell and that he refused,

  thus requiring a use of force. [Doc. 56] at 9. Thus, Plaintiff is unable to establish that his right

  to relief is “clear and unequivocal.” First W. Capital Mgmt. Co. v. Malamed, 874 F.3d 1136, 1145

  (10th Cir. 2017). The Motion should be denied.

  Fourteenth Amendment

         The Fourteenth Amendment bars the deprivation of any person of life, liberty

  or property without due process of law, as well as the denial of any person equal

  treatment of the laws. U.S. C ONST . AMEND . XIV. It is not entirely clear whether

  Plaintiff asserts both due process and equal protection claims against these

  Defendants, therefore, both will be addressed herein.

  Due Process

          As the Court is well aware, there are two (2) types of “due process” to which

   plaintiffs typically point in asserting a violation of their “due process” rights:

   substantive due process and procedural due process. Because Plaintiff fails to

   articulate which type of due process right he is alleging, if any, both are addressed

   herein.




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         To the extent that Plaintiff asserts that he was entitled to any form of process prior to

  his transfer from James Crabtree Correctional Center to DCF, he cannot establish a likelihood

  of success on this claim. The Supreme Court has held that

         the Due Process Clause in and of itself [does not] protect a duly convicted
         prisoner against transfer from one institution to another within the
         state prison system. Confinement in any of the State's institutions is within the
         normal limits or range of custody which the conviction has authorized the State
         to impose. That life in one prison is much more disagreeable than in another
         does not in itself signify that a Fourteenth Amendment liberty interest is
         implicated when a prisoner is transferred to the institution with the more severe
         rules.

  Meachum v. Fano, 427 U.S. 215, 225 (1976). Because Plaintiff will be unable to state a claim for

  a due process violation, his present Motion should be denied for failure to establish his

  likelihood of success on the merits.

  Equal Protection

          “Equal protection is essentially a direction that all persons similarly situated should be

  treated alike.” Trujillo v. Williams, 465 F.3d 1210, 1228 (10th Cir. 2006) (internal quotation

  marks omitted). It is not enough for Plaintiff to allege that he was treated differently from

  other inmates or citizens. Further, because Plaintiff does not “claim that the defendants treated

  him differently because of any suspect classification, to prevail on his equal protection claim

  he would have to prove that the distinction between himself and other inmates was not

  reasonably related to some legitimate penological purpose.” Id. (internal quotation marks

  omitted). In the case at bar, in neither his Amended Complaint nor his Motion for

  Preliminary Injunction, Plaintiff does not even allege that he was treated differently

  from anyone with regard to any actions taken by any of these Defendants. Therefore,
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  to the extent that Plaintiff attempts to state a claim for an equal protection violation,

  that claim will fail and no preliminary injunction should be issued.

                                       CONCLUSION

         Because, for the foregoing reasons, Plaintiff has not shown a likelihood of success on

  the merits, Defendants respectfully request that this Court deny Plaintiff’s Motion for

  Preliminary Injunction and grant any other such relief as the Court deems just and proper.


                                            Respectfully submitted,

                                            /s/ Desiree D. Singer
                                            DESIREE D. SINGER, OBA #33053
                                            Assistant Attorney General
                                            Oklahoma Attorney General’s Office
                                            Litigation Division
                                            313 NE 21st Street
                                            Oklahoma City, Oklahoma 73105
                                            Telephone: (405) 521-3921
                                            Facsimile: (405) 521-4518
                                            Email: desiree.singer@oag.ok.gov
                                            Attorney for Defendants




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                                CERTIFICATE OF SERVICE

         I hereby certify that on this 29th day of May 2019, I electronically transmitted the
  foregoing document to the Clerk of Court using the ECF System for filing a true and correct
  copy of the foregoing was sent via U.S. mail, postage prepaid to the following who is not an
  ECF registrant:

  James Ezell, III # 237230
  Davis Correctional Facility
  6888 E. 133rd Road
  Holdenville, OK 74848
  Plaintiff pro se

                                                   /s/ Desiree D. Singer
                                                   Desiree D. Singer




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF OKLAHOMA

     JAMES EZELL, III,

                            Plaintiff,

     vs.                                              Case No. CIV-19-302-RAW-SPS

     JAMES YATES, et al.,

                            Defendants.


                            DEFENDANTS’ RESPONSE IN
                      OPPOSITION TO PLAINTIFF’S MOTION FOR
                       APPOINTMENT OF COUNSEL [DOC# 104]


             COME NOW Defendants Ade, Bullock, Gentry, Hininger, Hoover, Keys,

     Patterson, Perez, Pfaff, Pierce, Smith, Underwood, and Yates by and through their

     attorney of record Darrell L. Moore, OBA 6332, of J. Ralph Moore, P.C., hereby

     responding in opposition to the Plaintiff’s Motion for Appointment of Counsel [Doc. No.

     104]. In support of their opposition and objection to Plaintiff’s Motion, Defendants state,

     as follows:

             1.      Plaintiff is an inmate in the custody of the Oklahoma Department of

     Corrections. He appears pro se and in forma pauperis. He has filed with this Court a civil

     complaint alleging Defendants violated his constitutional rights.

             2.      The federal statute providing for in forma pauperis complaints, 28 U.S.C.

     §1915(d), states the Court may request an attorney represent any person unable to employ

     counsel. However, the law does not require an attorney be appointed by this Court to

     represent Plaintiff.




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             3.      The appointment of counsel under section §1915(d) is within the sound

     discretion of the District Court. See McCarthy v. Weinberg, 753 F.2d 836 (10th

     Cir.1985); Blankenship v. Meachum, 840 F.2d 741, 743 (10th Cir.1988); Miller v. Glanz,

     948 F.2d 1562, 1572 (10th Cir. 1991).

             4.      In Rucks v. Boergemann, 57 F.3d 978, 979 (10th Cir. 1995), the Court

     identified several factors to be considered in evaluating a request for appointment of

     counsel - the merits of the litigant's claims, the nature of the factual issues raised in the

     claims, the litigant's ability to present his claims, and the complexity of the legal issues

     raised by the claims. The Court also cited to Tabron v. Grace, 6 F.3d 147 (3rd Cir. 1993),

     wherein general standards regarding the appointment of counsel for inmates pursuing a

     civil action in forma pauperis were carefully discussed by the Third Circuit Court of

     Appeals. In Tabron, at 156, the Third Circuit also identified a number of factors to be

     considered - The plaintiff's capacity to present his or her case (i.e., the plaintiff's

     education, literacy, prior work experience, and prior litigation experience; the plaintiff's

     ability to understand English; the restraints placed upon him or her by confinement); the

     difficulty of the particular legal issues; the degree to which factual investigation will be

     required and the ability of the indigent plaintiff to pursue such investigation; whether the

     case is likely to turn on credibility determinations; and, whether the case will require

     testimony from expert witnesses.

             5.      This case, though it is a 2019 filing, remains in the early stages of

     development. On January 21, 2020, these responding Defendants requested an Order

     issue from this Court directing a stay and for the preparation and filing of a Special




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     Report [Doc. No. 76]. Subsequent to that filing, Plaintiff began an appeal of the District

     Court’s denial of his second application for appointment of counsel.

               6.    If this Honorable Court does issue an Order for the preparation of a

     Special Report in this case, such would provide guidance as to what claims are before the

     Court and whether or not the Plaintiff exhausted administrative remedies as to those

     claims.

               7.    Contrary to the Plaintiff’s assertion, this case does not appear to be legally

     nor factually complex. Using the factors previously articulated by the Tenth Circuit

     Court of Appeals, Plaintiff has not demonstrated an inability to litigate without the

     assistance of an attorney. In fact, a simple review of Plaintiff’s current and previous

     filings show that Plaintiff is familiar with the procedures to navigate the Court system.

     Plaintiff’s Third Motion for Counsel is document number 104 in this action. He has

     filed numerous motions and other pleadings. He has additionally litigated several

     previous cases with the United States District Courts in Oklahoma - Eastern District

     Court Case No. CIV-12-133 and Western District Court Case Nos. CIV-10-1382, 11-390,

     11-1130 and a habeas corpus action, CIV-20-226.

               8.    Plaintiff has not presented to the Court circumstances warranting the

     appointment of counsel and has not demonstrated an exhaustion of his abilities to

     prosecute this civil matter.

               9.    Appointment of counsel under §1915(d) may be made at any point during

     litigation. If this Honorable Court denies Plaintiff’s request at this time, nothing in that

     denial would prevent the Plaintiff from making application for appointment of counsel at

     a later date.




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            WHEREFORE, premises considered, Defendants ask that this Honorable Court

     deny Plaintiff’s motion for appointment of counsel and grant Defendants such other and

     further relief as the Court may deem just and equitable.

                                                   Respectfully submitted, Defendants
                                                   Ade, Bullock, Gentry, Hininger, Hoover,
                                                   Keys, Patterson, Perez, Pfaff, Pierce, Smith,
                                                   Underwood, and Yates



                                                   By:
                                                   Darrell L. Moore, OBA #6332
                                                   J. Ralph Moore, P.C.
                                                   P.O. BOX 368
                                                   PRYOR, OK 74362
                                                   (918) 825-0332/7730 fax
                                                   Attorney for Defendants

                                       Certificate of Service

     □ I hereby certify that on June 29, 2020, I electronically transmitted the
     attached document to the Clerk of Court using the ECF System for filing. Based on the
     records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
     the following ECF registrants:

      I hereby certify that on June 29, 2020, I served the attached document by regular US
     Mail on the following, who are not registered participants of the ECF System:

     James Ezell, III
     DOC# 237370
     Davis Correctional Facility
     6888 E 133rd Rd
     Holdenville, OK 74848-9033


                                                  s/Darrell L. Moore
                                                  DARRELL L. MOORE




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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF OKLAHOMA

   JAMES EZELL, III

   Plaintiff,
                                                  Case No: 19-cv-302-JFH-SPS
   v.

   DAMON HININGER, et al.,
                                 Defendants.

    DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION
          FOR SUMMARY JUDGMENT AND BRIEF IN SUPPORT

          Defendants Scott Crow, David Cincotta, Mark Knutson, Jason Bryant, Kevin

  Hodgson, Austin Parks, Bradley Walker and James Nall, in their official and individual

  capacities, by and through their attorney of record, Assistant Attorney General Desiree D.

  Singer, and pursuant to Fed. R. Civ. P. 56, respectfully submit the following response in

  opposition to Plaintiff’s Motion for Summary Judgment [Doc. 113]. In support of their

  response, Defendants submit the following brief.

                                     BRIEF IN SUPPORT

                                STATEMENT OF THE CASE

          Plaintiff brings claims pursuant to 42 U.S.C. § 1983 alleging violations of his rights

  under the First, Sixth, Eighth, and Fourteenth Amendments to the United States Constitution

  for occurrences taking place while in custody of the Oklahoma Department of Corrections

  (“ODOC”). [Doc. 56]. It appears that Plaintiff seeks only preliminary injunctive relief. Id. at

  15. No Answer or dispositive motion has been filed by any Defendant in response to Plaintiff’s

  Amended Complaint.




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                                   STANDARD OF REVIEW

         Summary judgment shall be granted when the moving party demonstrates that it is

  entitled to judgment as a matter of law because there is no evidence – considering the

  pleadings, depositions, answers to interrogatories, along with affidavits – to support the claims

  of the nonmoving party or that there is no genuine issue as to any material fact. Fed. R. Civ.

  P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986). An issue is “genuine” only if the

  evidence is such that a reasonable fact finder could return a verdict for the nonmoving party.

  Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). “A fact is ‘material’ if, under the

  governing law, it could have an effect on the outcome of the lawsuit.” E.E.O.C. v.

  Horizon/CMS Healthcare Corp., 220 F.3d 1184, 1190 (10th Cir. 2000). “Only disputes over facts

  that might affect the outcome of the suit under the governing law will properly preclude the

  entry of summary judgment. Although a plaintiff is entitled to all reasonable inferences from

  the record, she must still marshal sufficient evidence requiring submission of the matter to the

  jury in order to avoid summary judgment. Piercy v. Maketa, 480 F.3d 1192, 1197 (10th Cir.

  2007). Thus, if the plaintiff bears the burden of persuasion on a claim at trial, then summary

  judgment may be warranted if (a) Defendants point out a lack of evidence to support an

  essential element of that claim, and (b) Plaintiff cannot identify specific facts that would create

  a genuine issue. Water Pik, Inc. v. Med-Systems, Inc., 726 F.3d 1136, 1143-44 (10th Cir. 2013).




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                               ARGUMENT AND AUTHORITY

  PROPOSITION I: SUMMARY                  JUDGMENT            SHOULD         BE     DENIED         AS
  PREMATURE.

         Plaintiff’s present motion for summary judgment is procedurally inappropriate.

  Because a party moving for summary judgment must demonstrate the absence of any issue of

  material fact, a court should only grant summary judgment after the parties have been given

  an adequate opportunity for discovery. See, e.g., Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)

  (observing that summary judgment is appropriate only “after adequate time for discovery”);

  Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 n.5, 257 (1986) (noting that summary judgment

  should be refused “where the nonmoving party has not had the opportunity to discover

  information that is essential to his opposition,” and that the nonmoving party should have “a

  full opportunity to conduct discovery”).

         Defendants have not yet filed an Answer or other dispositive motion. Rather, due to

  the nature of Plaintiff’s claims, Defendants have moved this Court to order a Special Report

  pursuant to Martinez v. Aaron, 570 F.2d 317, 319 (10th Cir. 1978) in order to provide the Court

  with additional information to process Plaintiff’s claims prior to the opening of the discovery

  period. [Doc. 58]. This Motion remains pending.

         Plaintiff incorporates by reference each and every fact alleged in his 160-page Amended

  Complaint [Doc. 56], purportedly as undisputed and genuinely material to the disposition of

  his case. [Doc. 113] at 2. Certainly not all of Plaintiff’s alleged facts are material to his claims,

  nor are they all undisputed. At this point, without at the very least a Special Report, Defendants

  are unable to determine which of these facts are undisputed and material, nor what facts exist




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  tending to support a position that Defendants are not liable to Plaintiff for any of his alleged

  claims. Further, it will take a significant amount of time to complete a full investigation and

  report on Plaintiff’s claims, notwithstanding the complications that will undoubtedly arise in

  doing so given the current global COVID-19 pandemic. Thus, dismissal of Plaintiff’s motion

  for summary judgment at this stage is appropriate.

                                        CONCLUSION

         For the foregoing reasons, Defendants respectfully request that this Court deny

  Plaintiff’s Motion for Summary Judgment and grant any other such relief as the Court deems

  just and proper.


                                              Respectfully submitted,

                                              /s/ Desiree D. Singer
                                              DESIREE D. SINGER, OBA #33053
                                              Assistant Attorney General
                                              Oklahoma Attorney General’s Office
                                              Litigation Division
                                              313 NE 21st Street
                                              Oklahoma City, Oklahoma 73105
                                              Telephone: (405) 521-3921
                                              Facsimile: (405) 521-4518
                                              Email: desiree.singer@oag.ok.gov
                                              Attorney for Defendants




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                                CERTIFICATE OF SERVICE

         I hereby certify that on this 13th day of August 2020, I electronically transmitted the
  foregoing document to the Clerk of Court using the ECF System for filing a true and correct
  copy of the foregoing was sent via U.S. mail, postage prepaid to the following who is not an
  ECF registrant:

  James Ezell, III # 237230
  Davis Correctional Facility
  6888 E. 133rd Road
  Holdenville, OK 74848
  Plaintiff pro se

                                                    /s/ Desiree D. Singer
                                                    Desiree D. Singer




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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF OKLAHOMA

  JAMES EZELL, III,

                         Plaintiff,

  vs.                                            Case No. CIV-19-302-JFH-SPS

  JAMES YATES, et al.,

                         Defendants.


                      DEFENDANTS’ RESPONSE IN OPPOSITION TO
                    PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT.


         COME NOW Defendants Ade, Bullock, Gentry, Hininger, Hoover, Keys, Patterson,

  Perez, Pfaff, Pierce, Smith, Underwood, and Yates by and through their attorney of record,

  Darrell L. Moore, OBA #6332, and submit this Response in opposition to Plaintiff’s Motion for

  Summary Judgment [Doc# 113]. Plaintiff’s filing does not comply with the clear requirements

  of LCivR56.1. As set out in LCivR56.1(b), a brief in support of a motion for summary judgment

  (or partial summary judgment) shall begin with a section stating the material facts to which the

  movant contends no genuine dispute exists and the facts shall be set forth in concise, numbered

  paragraphs.

         There are no material facts pled by Plaintiff that would support an award of Summary

  Judgment. Instead Plaintiff simply asserts that he has exhausted administrative remedies as to

  the claims he has brought forward in his Amended Complaint and, presumably, Plaintiff seeks an

  order excusing him from having had to exhaust administrative remedies. Even in that regard,

  Plaintiff’s pleading is wide of the mark since the Court does not have before it the Plaintiff’s

  grievance record. Defendants have sought from the Court an Order directing the preparation and

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  filing of a Special Report that could fully discuss Plaintiff’s proper use, or non-use, of the

  administrative remedies process. Additionally, neither the CoreCivic-named Defendants nor the

  ODOC-named Defendants have filed answers in this case.

         Clearly, this matter is not ripe for consideration of a Motion for Summary Judgment.

                                   STATEMENT OF THE CASE

         Plaintiff James Ezell, ODOC #237370, is an inmate under the care and custody of the

  Oklahoma Department of Corrections. He is housed by the Oklahoma Department of

  Corrections at the Davis Correctional Facility, Holdenville, Oklahoma pursuant to a contract

  between CoreCivic and the Oklahoma Department of Corrections. CoreCivic owns and operates

  the Davis Correctional Facility. The CoreCivic Defendants named herein are either employed by

  CoreCivic at Davis Correctional Facility or at the corporate headquarters. The remainder of the

  named Defendants are employed by the Oklahoma Department of Corrections.

                  RESPONSE TO PLAINTIFF'S “STATEMENT OF FACTS”

         Plaintiff’s filing does not comply with the clear requirements of LCivR56.1. Defendants

  are unable to determine what material facts to which Plaintiff contends no genuine dispute exists

  since Plaintiff has not set forth any facts in concise, numbered paragraphs. Instead Plaintiff

  attempts to incorporate by reference each and every fact alleged in his 160-page Amended

  Complaint [Doc. 56].

         Additionally, Plaintiff does not cite to “facts,” but instead makes reference to case law

  that discusses the administrative remedies process and suggests that this Court should make a

  preliminary ruling on the issue of exhaustion of administrative remedies prior to any Defendant

  even asserting his failure to exhaust as an affirmative defense.


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              SUMMARY JUDGMENT SHOULD BE DENIED AS PREMATURE

         Plaintiff’s present motion for summary judgment is procedurally inappropriate.

         Because a party moving for summary judgment must demonstrate the absence of any

  issue of material fact, a court should only grant summary judgment after the parties have been

  given an adequate opportunity for discovery. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

  250 n.5, 257 (1986).

         CoreCivic Defendants have not yet filed an Answer or other dispositive motion. More

  appropriately, due to the nature of Plaintiff’s claims, Defendants have moved this Court to order

  preparation of a Special Report pursuant to Martinez v. Aaron, 570 F.2d 317, 319 (10th Cir.

  1978) in order to provide the Court with necessary information with which to assess Plaintiff’s

  claims prior to the opening of discovery. These Motions by Defendants remain pending.

         At present, without a Special Report, Defendants are unable to determine whether any of

  the facts somewhat pled by Plaintiff are undisputed, and/or material, or whether such facts even

  exist. Once the Court Orders the preparation of a Special Report, it will take time to complete a

  and investigation and prepare a report on Plaintiff’s claims, and to do so may also encounter

  some complications due to the current impacts of COVID-19 of prison operations.

         Dismissal of Plaintiff’s motion for summary judgment as premature at this stage is

  appropriate.

                                            CONCLUSION

         Under the F.R.C.P., Rule 56(c), the moving party always bears the initial responsibility of

  informing the district court of the basis for its motion, and identifying those portions of “the

  pleadings, depositions, answers to interrogatories, and admissions on file, together with the

  affidavits, if any,” which it believes demonstrate the absence of a genuine issue of material fact.

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  Plaintiff has wholly failed to meet his “initial responsibility” of demonstrating to the Court that

  no genuine issue of material fact exists and that he is entitled to summary judgment as a matter

  of law. As a result, Plaintiff’s Motion for Summary Judgment should be denied by this Court as

  premature.

         WHEREFORE, premises considered, CoreCivic Defendants pray that this Court deny

  Plaintiff’s Motion for Summary Judgment.

                                                Respectfully submitted, Defendants
                                                Ade, Bullock, Gentry, Hininger, Hoover, Keys,
                                                Patterson, Perez, Pfaff, Pierce, Smith, Underwood,
                                                and Yates


                                                By:
                                                Darrell L. Moore, OBA #6332
                                                J. Ralph Moore, P.C.
                                                P.O. BOX 368
                                                PRYOR, OK 74362
                                                (918) 825-0332/7730 fax
                                                Attorney for CoreCivic Defendants


                                        Certificate of Service

   I hereby certify that on August 13, 2020, I electronically transmitted the
  attached document to the Clerk of Court using the ECF System for filing. Based on the records
  currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the following
  ECF registrants: Desiree Singer desiree.singer@oag.ok.gov, becky.sunderland@oag.ok.gov,
  docket@oag.ok.gov, riskdocket@omes.ok.gov

   I hereby certify that on August 13, 2020, I served the attached document by regular US Mail
  on the following, who are not registered participants of the ECF System:

  James Ezell, III, DOC# 237370
  Davis Correctional Facility
  6888 E 133rd Rd
  Holdenville, OK 74848-9033



                                                        DARRELL L. MOORE
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF OKLAHOMA

     JAMES EZELL, III,

                            Plaintiff,

     vs.                                              Case No. CIV-19-302-JFH-SPS

     JAMES YATES, et al.,

                            Defendants.


                         DEFENDANTS’ RESPONSE IN
           OPPOSITION TO PLAINTIFF’S MOTION FOR APPOINTMENT OF
                            COUNSEL [DOC# 121]


             COME NOW Defendants Ade, Bullock, Gentry, Hininger, Hoover, Keys,

     Patterson, Perez, Pfaff, Pierce, Smith, Underwood, and Yates by and through their

     attorney of record Darrell L. Moore, OBA 6332, of J. Ralph Moore, P.C., hereby

     responding in opposition to the Plaintiff’s Motion for Appointment of Counsel [Doc. No.

     121]. In support of their opposition and objection to Plaintiff’s Motion, Defendants state

     as follows:

             1.      Plaintiff is an inmate in the custody of the Oklahoma Department of

     Corrections. He appears pro se and in forma pauperis. He has filed with this Court a civil

     complaint alleging Defendants violated his constitutional rights.

             2.      The federal statute providing for in forma pauperis complaints, 28 U.S.C.

     §1915(d), states the Court may request an attorney represent any person unable to employ

     counsel. However, the law does not require an attorney be appointed by this Court to

     represent Plaintiff.




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             3.      The appointment of counsel under section §1915(d) is within the sound

     discretion of the District Court. See McCarthy v. Weinberg, 753 F.2d 836 (10th

     Cir.1985); Blankenship v. Meachum, 840 F.2d 741, 743 (10th Cir.1988); Miller v. Glanz,

     948 F.2d 1562, 1572 (10th Cir. 1991).

             4.      In Rucks v. Boergemann, 57 F.3d 978, 979 (10th Cir. 1995), the Court

     identified several factors to be considered in evaluating a request for appointment of

     counsel - the merits of the litigant's claims, the nature of the factual issues raised in the

     claims, the litigant's ability to present his claims, and the complexity of the legal issues

     raised by the claims. The Court also cited to Tabron v. Grace, 6 F.3d 147 (3rd Cir. 1993),

     wherein general standards regarding the appointment of counsel for inmates pursuing a

     civil action in forma pauperis were carefully discussed by the Third Circuit Court of

     Appeals – i.e., the plaintiff's capacity to present his or her case (his education, literacy,

     prior work experience, prior litigation experience, ability to understand English, and the

     restraints placed upon him or her by confinement); the difficulty of the particular legal

     issues; the degree to which factual investigation will be required and the ability of the

     indigent plaintiff to pursue such investigation; whether the case is likely to turn on

     credibility determinations; and, whether the case will require testimony from expert

     witnesses.

             5.      This case remains in the early stages of development. On January 21,

     2020, these responding Defendants requested an Order issue from this Court directing a

     stay and for the preparation and filing of a Special Report [Doc. No. 76]. Subsequent to

     that filing, Plaintiff began an appeal of the District Court’s denial of his second




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     application for appointment of counsel. That appeal has since been dismissed by the

     appellate court. [Doc. No. 90]

            6.      In support of Plaintiff’s current application for appointment of counsel,

     Plaintiff seems to suggest that his ability to communicate with an attorney (Mike Arnett)

     has been thwarted. Though Plaintiff contends he had a call with an attorney on July 2,

     2020, Plaintiff does not contend that the attorney has agreed to or intends to enter an

     appearance on Plaintiff’s behalf. Instead, Plaintiff simply seems to suggest that he has

     been unable to keep an attorney (who has not entered an appearance on his behalf)

     updated on this case.

            7.      Using the factors previously articulated by the Tenth Circuit Court of

     Appeals, Plaintiff has not demonstrated an inability to litigate without the assistance of an

     attorney. In fact, a simple review of Plaintiff’s current and previous filings show that

     Plaintiff is familiar with the procedures necessary to navigate the Court system.

     Plaintiff’s Third Motion for Counsel is document number 104 in this action. Plaintiff

     has filed numerous motions and other pleadings. Plaintiff has also litigated previous

     cases with the United States District Courts in Oklahoma - Eastern District Court Case

     No. CIV-12-133 and Western District Court Case Nos. CIV-10-1382, 11-390, 11-1130

     and a habeas corpus action, CIV-20-226.

            8.      Plaintiff has not presented to the Court circumstances warranting the

     appointment of counsel and has not demonstrated an exhaustion of his ability to

     prosecute this civil matter.

            9.      Appointment of counsel under §1915(d) may be made at any point during

     litigation. If this Honorable Court denies Plaintiff’s request at this time, nothing in that




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     denial would prevent the Plaintiff from making application for appointment of counsel at

     a later date.

             WHEREFORE, premises considered, Defendants ask that this Honorable Court

     deny Plaintiff’s motion for appointment of counsel and grant Defendants such other and

     further relief as the Court may deem just and equitable.

                                                   Respectfully submitted, Defendants
                                                   Ade, Bullock, Gentry, Hininger, Hoover,
                                                   Keys, Patterson, Perez, Pfaff, Pierce, Smith,
                                                   Underwood, and Yates



                                                   By:
                                                   Darrell L. Moore, OBA #6332
                                                   J. Ralph Moore, P.C.
                                                   P.O. BOX 368
                                                   PRYOR, OK 74362
                                                   (918) 825-0332/7730 fax
                                                   Attorney for Defendants

                                       Certificate of Service

     □ I hereby certify that on September 24, 2020, I electronically transmitted the
     attached document to the Clerk of Court using the ECF System for filing. Based on the
     records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to
     the following ECF registrants:

      I hereby certify that on September 24, 2020, I served the attached document by
     regular US Mail on the following, who are not registered participants of the ECF System:

     James Ezell, III, DOC# 237370
     Davis Correctional Facility
     6888 E 133rd Rd
     Holdenville, OK 74848-9033


                                                  s/Darrell L. Moore
                                                  DARRELL L. MOORE




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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF OKLAHOMA

  JAMES EZELL, III,                             )
                                                )
                              Plaintiff,        )
                                                )
  v.                                            )           No. CIV 19-302-JFH-SPS
                                                )
  DAMON HININGER, et al.,                       )
                                                )
                              Defendants.       )

                                   OPINION AND ORDER

         On September 9, 2019, Plaintiff, a pro se state prisoner, filed a civil rights complaint

  pursuant to 42 U.S.C. § 1983 (Dkt. No. 1). He alleged his constitutional rights were

  violated while he was incarcerated at Davis Correctional Facility (“DCF”), a private prison

  in Holdenville, Oklahoma. On December 18, 2019, Plaintiff filed an amended complaint,

  naming 23 defendants, including Correctional Officers Mr. Vance (“Vance”) and Mr.

  Adkins (“Adkins”) (Dkt. No. 56). All the defendants except Vance and Adkins were

  served.

         On June 1, 2020, the Court entered an Order directing Plaintiff to show cause why

  Defendants Vance and Adkins should not be dismissed from this action for Plaintiff’s

  failure to serve them within 90 days after filing the complaint, pursuant to Fed. R. Civ. P.

  4(m) (Dkt. No. 101). Plaintiff filed a response on June 12, 2020, alleging these defendants

  “fled” Davis Correctional Facility when the other defendants were served (Dkt. No. 105).

  He further asserted he had been denied access to the courts, and he had received a



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  retaliatory misconduct. Id. He did not, however, explain how this denial prevented him

  from serving Defendants Vance and Adkins. Nonetheless, the Court found that Plaintiff

  had shown cause for his failure to serve Defendants Vance and Adkins. (Dkt. No. 110).

         In an attempt to locate and serve Defendants Vance and Adkins, on July 17, 2020,

  the United States Marshals Service was directed to obtain the last known addresses for

  Defendants Vance and Adkins (Dkt. No. 111). Service then was attempted on these two

  defendants at their last known addresses (Dkt. Nos. 114, 115).            According to the

  unexecuted summonses, Vance’s summons was not accepted by the addressee (Dkt. No.

  120), and Adkins could not be located (Dkt. No. 119).

         Although service is ultimately Plaintiff’s responsibility, the record shows he has

  made no additional attempts to serve these defendants. Further, the fact that the Marshals

  Service has been unable to effect service on Defendants Vance and Adkins does not amount

  to “good cause” for purposes of Fed. R. Civ. P. 4(m). See Fields v. Okla. State Penitentiary,

  511 F.3d 1109, 1113 (10th Cir. 2007). While Plaintiff is entitled to service assistance from

  the Marshals Service, it is his responsibility to provide the Marshals Service with the

  information required to locate and serve each defendant. Id. After careful review, the Court

  finds that dismissal of Defendants Vance and Adkins is proper, because Plaintiff has failed

  to show good cause for his failure to serve them pursuant to Fed. R. Civ. P. 4(m).

         THEREFORE, Defendant Vance and Defendant Adkins are DISMISSED

  WITHOUT PREJUDICE from this action.




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        IT IS SO ORDERED this 29th day of September, 2020.



                                             _______________________________
                                             JOHN F. HEIL, III
                                             UNITED STATES DISTRICT JUDGE




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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF OKLAHOMA


  JAMES EZELL, III,                             )
                                                )
                Plaintiff,                      )
                                                )
  v.                                            )           CIV-19-302-JFH-SPS
                                                )
  DAMON HININGER, et al,                        )
                                                )
                Defendants.                     )


       ORDER STAYING PROCEEDINGS AND REQUIRING SPECIAL REPORT

         The court has determined that an investigation and report would be helpful in

  determining whether there are any factual or legal bases for Plaintiff’s claims. See Hall v.

  Bellmon, 935 F.2d 1106 (10th Cir. 1991); Martinez v. Aaron, 570 F.2d 317 (10th Cir. 1978).

         ACCORDINGLY, IT IS HEREBY ORDERED that:

         (1)    Officials responsible for the institution(s) involved in the alleged civil rights

                violation shall undertake a review of the subject matter of the complaint:

                (a)    to ascertain the facts and circumstances;

                (b)    to consider whether any action can and should be taken by the

                       institution(s) or other appropriate officials to resolve the subject matter

                       of the complaint; and

                (c)    to determine whether other like complaints, whether pending in this

                       court or elsewhere, are related to this complaint and should be taken up

                       and considered together.

         (2)    In the conduct of the review, a written report shall be compiled and filed with




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              the court. Authorization is granted to interview all witnesses including

              Plaintiff and appropriate officers of the institution(s). Wherever appropriate,

              medical or psychiatric examinations shall be made and included in the written

              report. Any rules and regulations pertinent to the subject matter of the

              complaint shall be included in the written report.

        (3)   All pending motions in this case are hereby stricken without prejudice. No

              applications, motions, or discovery should be filed or considered until the steps

              set forth in this Order have been completed, except as the court further orders.

        (4)   It is desired that the report made in the course of this investigation be attached

              to and filed with Defendants’ answer or dispositive motion. The report and

              Defendants’ answer or dispositive motion, shall be filed no later than sixty

              days from this date.


        IT IS SO ORDERED this 29th day of September, 2020.




                                           _____________________________________
                                           STEVEN P. SHREDER
                                           UNITED STATES MAGISTRATE JUDGE




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